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     PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND
     CONTRACTS AND/OR LEASES ON THE ATTACHED EXHIBITS TO DETERMINE
     IF THIS MOTION AFFECTS THEIR CONTRACT AND/OR LEASE OR THEIR
     RIGHTS THEREUNDER.

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 Counsel to Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                   )
     In re:                                                        )        Chapter 11
                                                                   )
     SIZMEK INC., et al.,1                                         )        Case No. 19-10971(SMB)
                                                                   )
                                         Debtors.                  )        (Jointly Administered)
                                                                   )

      NOTICE OF FILING OF REVISED PROPOSED ORDER FOR DEBTORS’ FIRST
     MOTION FOR ENTRY OF AN ORDER (I) AUTHORIZING AND APPROVING THE
         ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
             UNEXPIRED LEASES TO ZETA GLOBAL HOLDINGS CORP.
            IN CONNECTION WITH SALE OF DEMAND SIDE PLATFORM
     AND DATA MANAGEMENT PLATFORM AND (II) GRANTING RELATED RELIEF

              PLEASE TAKE NOTICE that on May 9, 2019, Sizmek Inc. and certain of its direct and

 indirect subsidiaries, as debtors and debtors in possession (collectively, the “Debtors”) filed the



 1     Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       include: Sizmek Inc. (4624); Sizmek DSP, Inc. (2319); Point Roll, Inc. (3173); Sizmek Technologies, Inc. (6402);
       Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106); and X Plus Two
       Solutions, LLC (4914). The location of Debtors’ service address for purposes of these chapter 11 cases is: 401
       Park Avenue South, Fifth Floor, New York, NY 10016.



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 Debtors’ First Motion for Entry of an Order (I) Authorizing and Approving the Assumption and

 Assignment of Executory Contracts and Unexpired Leases to Zeta Global Holdings Corp. in

 Connection with Sale of Demand Side Platform and Data Management Platform and (II) Granting

 Related Relief [Dkt. 160] (the “Motion”).

          PLEASE TAKE FURTHER NOTICE that, a proposed form of Order was filed with the

 Motion as Exhibit A (the “Proposed Assumption Order”).

          PLEASE TAKE FURTHER NOTICE that an amended Proposed Assumption Order is

 attached hereto as Exhibit 1. A blackline reflecting the changes to the Proposed Assumption

 Order, in comparison to the version originally filed with the Court, is attached hereto as Exhibit

 2. Also attached as Exhibit 3 is a blackline reflecting the changes to the Assigned Contracts,

 originally Exhibit B to the Motion, now Exhibit A to the Proposed Assumption Order.

                  [Remainder of page intentionally left blank; signature page follows.]




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 Dated: May 28, 2019                 /s/ Steven J. Reisman
 New York, NY                        KATTEN MUCHIN ROSENMAN LLP
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                                                  jerry.hall@kattenlaw.com

                                     -and-

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                                     Counsel to Debtors and Debtors-in-Possession




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                                           Exhibit 1

                                  Proposed Assumption Order




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                   )
     In re:                                                        )        Chapter 11
                                                                   )
     SIZMEK INC., et al.,1                                         )        Case No. 19-10971 (SMB)
                                                                   )
                                         Debtors.                  )        (Jointly Administered)
                                                                   )

       ORDER GRANTING DEBTORS’ FIRST MOTION FOR ENTRY OF AN ORDER
      (I) AUTHORIZING AND APPROVING THE ASSUMPTION AND ASSIGNMENT
      OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES TO ZETA GLOBAL
     HOLDINGS CORP. IN CONNECTION WITH SALE OF DEMAND SIDE PLATFORM
     AND DATA MANAGEMENT PLATFORM AND (II) GRANTING RELATED RELIEF

              Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

 (collectively, “Debtors”) for the entry of an order, pursuant to sections 105(a) and 365 of title 11

 of the United States Code (the “Bankruptcy Code”), authorizing Debtors to assume and assign to

 Buyer the executory contracts and unexpired lease identified on Exhibit A attached hereto (the

 “Assigned Contracts”), as more fully set forth in the Motion; and this Court having jurisdiction

 over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

 Reference from the United States District Court for the Southern District of New York, dated

 February 1, 2012; and this Court having authority to enter a final order consistent with Article III

 of the United Constitution; and this Court having found that venue of this proceeding and

 the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

 found that this is a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found


 1     Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies, Inc. (6402);
       Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106); and X Plus Two
       Solutions, LLC (4914). The location of Debtors’ service address for purposes of these chapter 11 cases is: 401
       Park Avenue South, 5th Floor, New York, NY 10016.
 2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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 that Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate

 under the circumstances and no other notice need be provided; and this Court having reviewed the

 Motion and having heard the statements in support of the relief requested therein at a hearing, if

 any, before this Court (the “Hearing”); and this Court having determined that the legal and factual

 bases set forth in the Motion and at the Hearing establish just cause for the relief granted herein;

 and upon all of the proceedings had before this Court; and after due deliberation and sufficient

 cause appearing therefor, it is HEREBY ORDERED THAT:

                   1.      The Motion is granted as set forth herein.

                   2.      The requirements of Bankruptcy Rule 6006(f) are hereby waived as they

 relate to the Motion.

                   3.      The assumption and assignment of the Assigned Contracts pursuant to the

 terms of this Order is integral to the APA, is in the best interests of Debtors and their estates,

 creditors, and other parties in interest and represents the reasonable exercise of sound and prudent

 business judgment by Debtors.

                   4.      Pursuant to section 365(a) of the Bankruptcy Code, Debtors are authorized

 and directed to assume and assign the Assigned Contracts to Buyer free and clear of all liens,

 claims, encumbrances and other interests arising prior to assumption and assignment, except for

 Buyer’s obligation to pay certain applicable Cure Costs. With respect to each Assigned Contract,

 payment of the Cure Costs shall (a) effect a cure of all monetary defaults existing thereunder, (b)

 compensate the applicable Assigned Contract counterparty for any actual pecuniary loss resulting

 from any such default, and (c) together with the assignment of the Assigned Contracts by Buyer,

 constitute adequate assurance of future performance thereof.




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                   5.      Any provision in or effect of any Assigned Contract that prohibits or

 conditions the assignment of such Assigned Contract or allows the counterparty to such Assigned

 Contract to terminate, recapture, impose any penalty, condition on renewal or extension or modify

 any term or condition upon the assignment of such Assigned Contract, constitutes an

 unenforceable anti-assignment provision that is void and of no effect pursuant to section 365(f) of

 the Bankruptcy Code. All other requirements and conditions under sections 363 and 365 of the

 Bankruptcy Code for the assumption by Debtors and assignment to Buyer of the Assigned

 Contracts have been satisfied, and such assumption and assignment shall not constitute a default

 thereunder. Upon the closing of the APA and the payment of the required Cure Costs, Buyer shall

 be fully and irrevocably vested with all right, title and interest of Debtors under each Assigned

 Contract, and Debtors shall be relieved, pursuant to section 365(k) of the Bankruptcy Code, from

 any further liability to the counterparties to such Assigned Contracts.

                   6.      Assumption of the Assigned Leases shall be effective notwithstanding a

 dispute over the proposed Cure Costs. In accordance with the terms of the APA, Buyer shall pay

 the Cure Costs as soon as practicable after assumption of any Assumed Lease pursuant to this

 Order. Any disputed Cure Cost must be paid promptly after the earlier of (a) the date on which

 Debtors and the counterparty to the Assigned Contract agree on an amount or (b) the date specified

 in a final and non-appealable order entered by this Court determining such amount. Debtors and

 Buyer shall cooperate concerning the resolution of disputed Cure Costs.

                   7.      Upon the entry of this Order, the counterparties of the Assigned Contracts

 shall be forever barred and enjoined from asserting against Debtors any defaults, claims, interest

 or other default penalties under the Assigned Contract arising prior to the date of this Order.




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                   8.      Assumption of any Assigned Contract or payment of an associated Cure

 Cost does not represent a waiver by Debtors of any rights, claims, or defenses in connection with

 or arising under any such Assigned Contract.

                   9.      Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.

                   10.     This Court shall retain jurisdiction with respect to all matters arising from

 or related to the implementation and/or interpretation of this Order.



  Dated: ____________, 2019
  New York, New York                                THE HONORABLE STUART M. BERNSTEIN
                                                    UNITED STATES BANKRUPTCY JUDGE




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                                           Exhibit A

                                      Assigned Contracts


                 Contract Counterparty                  Contract          Proposed Cure
                                                                              Cost
  1.      42Digital GmbH                      ESA DSP                         $0.00
  2.      7 Interactive                       T&C Agmt                        $0.00
  3.      77 Agency S.r.l. (Milano)           ESA DSP                         $0.00
  4.      7Hops.com Inc. (dba: ZergNet)       Trial SS DSP Order              $0.00
  5.      7Hops.com Inc. (dba: ZergNet)       MSA SS DSP                      $0.00
  6.      888 Holdings Public Limited                                         $0.00
          Company (Virtual Marketing          ESA DSP
          Services (Gibraltar) Limited)
  7.      Active International                AMDT1 To Trade                  $0.00
  8.      Active International                Trade Agmt                      $0.00
  9.      Ad Action                           ESA DSP                         $0.00
  10.     ad2games GmbH                       AMDT1 to ESA DSP                $0.00
  11.     ad2games GmbH                       ESA DSP                         $0.00
  12.     Adapt Media Inc.                    SS DSP Order                    $0.00
  13.     AdBlot, Inc.                        Agency MSA DSP                  $0.00
  14.     AdBlot, Inc.                        SOW DSP                         $0.00
  15.     AdCellerant                         DSP Wk Order                    $0.00
  16.     Adcleek                             ESA DSP                         $0.00
  17.     Address S.r.l.                      ESA DSP                         $0.00
  18.     Adgravitygroup S.L.                 ESA DSP                         $0.00
  19.     AdmobSphere S.r.l.                  ESA DSP                         $0.00
  20.     AdReady (CPX Interactive)           AMDT2 to DSP Wk Order           $0.00
  21.     AdReady (CPX Interactive)           AMDT1 to DSP Wk Order           $0.00
  22.     AdReady (CPX Interactive)           DSP Wk Order                    $0.00
  23.     AdReady (CPX Interactive)           MSA SS DSP                      $0.00
  24.     AdReady (CPX Interactive)           ESA SaaS                        $0.00
  25.     AdRelated FZ-LLC                    SS DSP Order                    $0.00
  26.     Adsbenchpty Limited                 DSP DMP Order                   $0.00
  27.     AdsCompanion                        ESA DSP                         $0.00
  28.                                         Adserving, SS DSP, DMP          $0.00
          Adsige Inc.
                                              Order
  29.     AdSkyline Network Technology                                        $0.00
                                              SS DSP Order
          Co., Ltd.
  30.     Adsocial S.A. de C.V.               SS DSP Order                    $0.00
  31.     Advant Technology Ltd.              ESA DSP                         $0.00
  32.     Advantage AMP, Inc.                 T&C AMDT to IAB V3              $0.00
  33.     AdverServe Digital Advertising                                      $0.00
                                              AMDT to ESA Beta
          Services GmbH


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                 Contract Counterparty                   Contract           Proposed Cure
                                                                                Cost
  34.     AdverServe Digital Advertising                                        $0.00
                                               ESA Beta SaaS
          Services GmbH
  35.     Adviso Conseil, Inc.                 Wk Order DSP DMP                 $0.00
  36.                                          MSA DSP + EMP (90 day out        $0.00
          Adviso Conseil, Inc.
                                               clause)
  37.     Affiperf Limited                     ESA DSP                          $0.00
  38.     Affiperf Limited                     ESA DSP                          $0.00
  39.     Agency of Record, LLC (dba:                                           $0.00
                                               Adserving, Managed DSP
          Quality Produce)
  40.     AimClear, LLC                        SAS, SS DSP Order                $0.00
  41.     Algortech Limited                    SS DSP Order                     $0.00
  42.     Alkemy S.p.a.                        ESA Beta SaaS                    $0.00
  43.     Alley Group Pty Ltd.                 ESA DSP FXD EMEA                 $0.00
  44.     Alliance Advertising & Marketing     MSA/SAS, DSP Order               $0.00
  45.     Allstate (Esurance Insurance         AMDT1 to IAB Terms (a            $0.00
          Services, Inc.)                      subsidiary of Allstate)
  46.     Allstate Insurance Company           PSA (X+1)                        $0.00
  47.     Alpha Digital Design Consultants                                      $0.00
                                               ESA DSP
          (Aust) Pty Ltd.
  48.     American Express (InComm)            Data Sharing Agmt                $0.00
  49.     Amnet Italia S.r.l.                  AMDT1 to ESA                     $0.00
  50.     Amnet Italia S.r.l.                  ESA Beta SaaS                    $0.00
  51.     Amnet Reklamcilik ve Medya                                            $0.00
                                               ESA DSP
          Iletisim Hizmetleri Tic. Ltd.
  52.     Amnet Spain, S.L.U.                  ESA DSP                          $0.00
  53.                                          AMDT1 to Trading Agmt            $0.00
          AMS Media Group Limited              2018 (AND, HARVEST
                                               DIGITAL)
  54.     AMS Media Group Limited              ESA Beta SaaS                    $0.00
  55.     Annalect GmbH                        ESA Beta SaaS                    $0.00
  56.     Anyclip Ltd                          Wk Order DSP                     $0.00
  57.     AOR Dominicana S.r.l.                All Srvs Order                   $0.00
  58.                                          Adnexus Agmt Buyer (w/           $0.00
          AppNexus
                                               X+1)
  59.     AppNexus                             DisplayWords Agmt (w/ X+1)       $0.00
  60.     AppNexus                             Exchange Agmt                    $0.00
  61.                                          MapUID Supplement (to Data       $0.00
          AppNexus
                                               Agmt)
  62.                                          Data Management Platform         $0.00
          AppNexus
                                               Agmt
  63.     ARC Science Ltd.                     AMDT1 to ESA Beta SaaS           $0.00
  64.     ARC Science Ltd.                     ESA Beta SaaS                    $0.00



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                 Contract Counterparty                 Contract             Proposed Cure
                                                                                Cost
  65.     Arkitekt Digital Reklam ve                                            $0.00
                                             ESA DSP
          Pazarlama A.S.
  66.     Arrivalist Co.                     MSA (their)                        $0.00
  67.     Aruba S.p.A.                       ESA DSP                            $0.00
  68.                                        ADDM3 (Rev Share for               $0.00
          Audience X
                                             Transferred Accts)
  69.     Audience X                         ADDM2 to ESA DSP                   $0.00
  70.     Audience X                         ADDM1 to ESA DSP                   $0.00
  71.     Audience X                         ESA DSP                            $0.00
  72.     Audion, SAS                        SS DSP Order                       $0.00
  73.                                        Advertiser MSA DSP (Self Srv       $0.00
          Bazaarvoice, Inc.
                                             & Mgd)
  74.                                        SOW DSP Self Service (w/           $0.00
          Bazaarvoice, Inc.
                                             Mgd Srv)
  75.     BE Media Group, LLC                ESA DSP Self Serve                 $0.00
  76.     Beijing Young'an Advertising Co.                                      $0.00
                                             ESA DSP
          Ltd (trading as New Light Media)
  77.     Beintoo SpA                        SS DSP Order                       $0.00
  78.     Betsson Services Limited           ESA DSP Self Service               $0.00
  79.     Better Search AB                   ESA Beta SaaS                      $0.00
  80.     Bidsprime Limited                  Combo Order                        $0.00
  81.     Bigpoint GmbH                      ESA DSP                            $0.00
  82.     BL IIeism ve Medya Hizmetleri                                         $0.00
                                             SS DSP Order
          A.S.
  83.     Blexr Limited                      ESA DSP                            $0.00
  84.     Blizzard Entertainment, Inc.       Advertiser MSA DMP                 $0.00
  85.     BoldWin Ltd.                       SS DSP Order                       $0.00
  86.     Booyah Advertising                 ADDM7 to SOW DSP                   $0.00
  87.     Booyah Advertising, Inc.           ESA Beta SaaS                      $0.00
  88.                                        ADDM5 to SOW (Sequential           $0.00
          Booyah Advertising, Inc.
                                             Liability several)
  89.     Booyah Advertising, Inc.           Agency MSA DSP                     $0.00
  90.     Booyah Advertising, Inc.           ESA Beta SaaS                      $0.00
  91.                                        ADDM1 TO 2018 MSA & All            $0.00
          Booyah Networks, Inc.
                                             Srvs Order
  92.     Booyah Networks, Inc.              All Srvs Order                     $0.00
  93.     Boraso S.r.l.                      ESA DSP                            $0.00
  94.     BRAINtrust Marketing +                                                $0.00
                                             SS DSP & Adserving Order
          Communications
  95.     Bravonext SA (on behalf of                                            $0.00
                                             SOW DSP
          lastminute.com group)
  96.     Bravonext SA (on behalf of                                            $0.00
                                             Data Processing Agmt (Exh A)
          lastminute.com group)


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                 Contract Counterparty                   Contract              Proposed Cure
                                                                                   Cost
  97.     Brill Media                          All Srvs Order                      $0.00
  98.     Brindis Events S.L.                  SS DSP Order                        $0.00
  99.     Cadreon CEE Kft.                     Affiliate Agmt (Hungary)            $0.00
  100.    Cadreon FZ LLC                       ESA DSP                             $0.00
  101.    Cadreon, LLC                         SOW DMP                             $0.00
  102.                                         Affiliate Agmt (Cadreon India       $0.00
          Cadreon, LLC                         Private Limited) to MSA DMP
                                               DSP
  103.                                         Affiliate Agmt (IPG                 $0.00
          Cadreon, LLC                         Mediabrand, Copenhagen,
                                               Denmark)
  104.                                         Affiliate Agmt (IPG                 $0.00
          Cadreon, LLC
                                               Mediabrand, S. Africa)
  105.                                         Affiliate Agmt (Sweden under        $0.00
          Cadreon, LLC
                                               IPG/IUM)
  106.    Cadreon, LLC                         AMDT7 to MSA                        $0.00
  107.    Cadreon, LLC                         Affiliate Agmt (Australia)          $0.00
  108.    Caesars Media UG                     ESA DSP                             $0.00
  109.    Cairns O'Neil Strategic Media Inc.   DSP Wk Order                        $0.00
  110.    CaptchaAD GmbH                       ESA DSP                             $0.00
  111.    CBS Local Digital Media (division                                        $0.00
                                               SOW Ltr Agmt
          of CBS Radio Inc.)
  112.    CBS Local Digital Media (division                                        $0.00
                                               SOW DSP (standard)
          of CBS Radio Inc.)
  113.    CBS Local Digital Media (division                                        $0.00
                                               ESA DSP
          of CBS Radio Inc.)
  114.    CIGNAL.IO LTD                        SS DSP, DMP Order                   $0.00
  115.    Citibank, N.A.                       AMDT1 (#SF-10506-2018)              $0.00
  116.    Citibank, N.A.                       Appendix D                          $0.00
  117.    Citibank, N.A.                       Wk Order4 (Bullseye)                $0.00
  118.    Clauwitz Innovations Private                                             $0.00
                                               SS DSP Order
          Limited
  119.    Clear Channel Outdoor, Inc.          AMDT2 to MSA                        $0.00
  120.    Clear Channel Outdoor, Inc.          AMDT1 to MSA                        $0.00
  121.                                         EMP IO Rider (WITH 1PD              $0.00
          Clearly Contacts
                                               data utilization & scope)
  122. Click Chilli Limited                    ESA DSP                             $0.00
  123. Coast Digital Limited                   AMDT1 to ESA DSP                    $0.00
  124. Coast Digital Limited                   ESA DSP                             $0.00
  125. Compensa Bolsa de Intercambio                                               $0.00
                                               ESA DSP
       S.L.
  126. Connected Interactive Inc.              SS DSP Order                        $0.00



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                   Contract Counterparty                               Contract                   Proposed Cure
                                                                                                      Cost
     127. Constellation Consulting Ibérica,                                                           $0.00
                                                          SS DSP Order
          S.L.
     128. Contactica                                      All Srvs Order                                 $0.00
     129. Contagion M Limited                             Srv Agmt                                       $0.00
     130. Cossette Communications Inc.                    Advertiser MSA DMP DSP                         $0.00
     131.                                                 Affiliate Adopting Agmt to                     $0.00
          CPXI Asia Pte Ltd.
                                                          DSP
     132.   Crave + Lamb Ltd                              ESA SaaS (EMEA)                                $0.00
     133.   Cross Tech Lab Ltd.                           SS DSP Order                                   $0.00
     134.   Crossmedia                                    MSA Beta                                       $0.00
     135.   Croud Inc Ltd                                 DSP Order                                      $0.00
     136.   Cutwater-San Francisco                        DSP Wk Order                                   $0.00
     137.   Cyber Communications, Inc. (CCI)              Alliance Agmt                                  $0.00
     138.                                                 SRV USE AGMT (OpenX in                         $0.00
            Cyber Communications, Inc. (CCI)
                                                          Japan)
     139.   DataFirst GmbH                                ESA DSP                                        $0.00
     140.   Dentsu Dominicana S.r.l.                      Adserving, SS DSP Order                        $0.00
     141.   Designsentory                                 Open Ad Order                                  $0.00
     142.   DFS Italia Srl                                ESA DSP Self Service                           $0.00
     143.   DFS Services LLC                              MSA1                                           $0.00
     144.                                                 Software as a Service                          $0.00
            DFS Services LLC
                                                          Addendum2
     145. Diamond Merckens Hogan, Inc.                    Agency MSA DSP                                 $0.00
     146.                                                 SOW DSP Self Service (w/                       $0.00
          Diamond Merckens Hogan, Inc.
                                                          Mgd Srv)
     147.   Dicom, Inc.                                   AMDT1 to DSP Wk Order                          $0.00
     148.   Dicom, Inc.                                   PMP DSP Wk Order                               $0.00
     149.   Dievision Media & Solutions GmbH              AMDT1 to ESA DSP                               $0.00
     150.   Dievision Media & Solutions GmbH              ESA DSP                                        $0.00
     151.   Digging Interacitve Ltd.                      SS DSP Order                                   $0.00
     152.   Digital Group Branch S.L.                     ESA DSP                                        $0.00
     153.   Digital Infusion Pvt. Ltd.                    ESP Beta SaaS                                  $0.00
     154.   DigitaLand                                    DSP Wk Order                                   $0.00
     155.   Digitouch Dijital Pazarlama ve                                                               $0.00
                                                          ESA DSP
            Medya A.S.
     156.   Digitouch S.r.l.                              AMDT2 TO ESA DSP                               $0.00
     157.   Digitouch S.r.l.                              AMDT1 TO ESA DSP                               $0.00
     158.   Digitouch S.r.l.                              ESA Beta SaaS self service                     $0.00
     159.   Diray Media, Inc.                             Wk Order DSP                                   $0.00

 1   This Assigned Contract was added, after the Motion was filed, at the request of DFS Services LLC.
 2   This Assigned Contract was added, after the Motion was filed, at the request of DFS Services LLC.


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                   Contract Counterparty                                Contract                    Proposed Cure
                                                                                                        Cost
     160.   Direct Source Media Ltd.                       SOW DSP (trial)                              $0.00
     161.   Direct Source Media Ltd.                       Agency MSA DSP                               $0.00
     162.   Discover Products Inc.                         AMDT2 to SOW                                 $0.00
     163.   Discover Products Inc.                         SOW Sch8 to MSA 2008                         $0.00
     164.   Discover Products Inc.                         SOW Sch7 to MSA 2008                         $0.00
     165.   Discover Products Inc.                         Services Agreement3                          $0.00
     166.                                                  Agreement between Discover                   $0.00
            Discover Products Inc. (DFS)                   Products Inc. (DFS) and
                                                           Rocket Fuel Inc. 4
     167.   DISH Network LLC                               Terms of Service                               $0.00
     168.   DK Solutions Spa                               DSP Wk Order                                   $0.00
     169.   DMWD GmbH                                      ESA DSP                                        $0.00
     170.   DOTC Pte. Ltd.                                 SS DSP Order                                   $0.00
     171.   Double Digit Ltda                              SS DSP Order                                   $0.00
     172.   Dr Pepper Snapple Group, Inc.                  MSA PMPS                                       $0.00
     173.                                                  Programmatic Mrking                            $0.00
            Dr Pepper Snapple Group, Inc.                  Platform & Srvs (PMPS) SOW
                                                           Managed Srv Media (fxd)
     174. Drumbeat Digital LLC (dba                                                                       $0.00
                                                           Media Buy Agmt|T&Cs
          Heartbeat Ideas)
     175. Earth Networks                                   MSA Aud Acc                                    $0.00
     176. eBay (UK) Limited                                MSA Aud Acc                                    $0.00
     177. Ecrans & Media SAS                               ESA DSP                                        $0.00
     178. Edmunds.com, Inc.                                MSA Aud Acc                                    $0.00
     179. E-Global Trade & Finance                         SS DSP Order                                   $0.00
     180. Email Addicts AB                                 ESA DSP                                        $0.00
     181. EMX Digital, LLC                                 DSP Wk Order                                   $0.00
     182. Engaging Communications PTY                                                                     $0.00
                                                           ESA DSP
          Ltd.
     183. ePharmacy Group Pty Ltd                          ESA DSP                                        $0.00
     184. Equmedia XL, S.A.                                ESA DSP                                        $0.00
     185. eToro Group Limited                              SS DSP Order                                   $0.00
     186. Evite, LLC                                       PMP DSP Wk Order                               $0.00
     187. Evolution People S.r.l.                          ESA DSP                                        $0.00
     188. Excitant LLC                                     DSP Wk Order                                   $0.00
     189. Experience TEN Korlatolt                                                                        $0.00
                                                           ESA DSP
          Felelossegu Tarsasag
     190. Eye Popper Digital LLC                           Wk Order DSP                                   $0.00
     191. EyeRB Media                                      MSA DSP SS                                     $0.00

 3   This Assigned Contract was added, after the Motion was filed, at the request of Discover Products Inc.
 4   This Assigned Contract was added, after the Motion was filed, at the request of Discover Products Inc.


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                 Contract Counterparty                    Contract          Proposed Cure
                                                                                Cost
  192.    EyeRB Media                         Wk Order DSP SS (28% fxd)         $0.00
  193.    Face2Trade Inc.                     ESA DSP                           $0.00
  194.    Fashion Media Inc.                  SS DSP Order                      $0.00
  195.    Fiber Ads Media Co., Ltd.           SS DSP Order                      $0.00
  196.    Financial Engines, Inc.             SOW DMP                           $0.00
  197.    Firehouse, Ltd.                     All Srvs Order                    $0.00
  198.    Firstly SP Zoo Sp.k.                SS DSP Order                      $0.00
  199.    Forest View Sole Shareholder Co.                                      $0.00
                                              SS DSP Order
          Ltd
  200.    Found Search Marketing              SOW DSP                           $0.00
  201.    Fresh Toast B.V.                    ESA DSP Agmt                      $0.00
  202.    Gamesys (Gibraltar) Limited         ESA DSP                           $0.00
  203.    Gamesys US LLC                      ESA DSP (New Jersey only)         $0.00
  204.    Gaming Performance GmbH             Cooperation Agmt                  $0.00
  205.    GAN Plc (Gameaccount Nevada,                                          $0.00
                                              ESA DSP
          Inc.)
  206.    Ganem Group (G Asociados SA De                                        $0.00
                                              Order SS DSP
          CV)
  207.    Genart Medya Reklamcilik Iletisim                                     $0.00
                                              Srvs Agmt
          Ticaret A.S.
  208.    Geotag S.r.l.                       ESA DSP                           $0.00
  209.    Ghost Management (Weedmaps                                            $0.00
                                              SS DSP
          Media, Inc.)
  210.    Global Midia Representacoes Ltda    SOW DMP                           $0.00
  211.    Global Midia Representacoes Ltda                                      $0.00
          (Digital Group) (Digital            SOW DSP
          Consultoria)
  212.    Global New Media LLC (dba: Blue                                       $0.00
                                              SS DSP Order
          Allen)
  213.    Global Promoting Services Ltd                                         $0.00
                                              SS DSP Order
          (Swifter)
  214.    GloMobi Limited                     SS DSP, Peer39 Order              $0.00
  215.    Go With Media, LLC                  Srvs Order                        $0.00
  216.                                        MSA (SFDC acct: Apogee            $0.00
          Goft & Tennis Pro Shop, Inc.
                                              Results)
  217.                                        SS DSP Order (SFDC acct:          $0.00
          Goft & Tennis Pro Shop, Inc.
                                              Apogee Results)
  218.                                        Measurement Partner Program       $0.00
          Google LLC
                                              Agmt
  219. Grabit Interactive Media Inc.          PMP DSP DMP                       $0.00
  220. Grabit Interactive Media Inc.          PMP DSP Wk Order                  $0.00
  221. GroupM Medya Hizmetleri Ticaret                                          $0.00
                                              ESA DSP
       Ltd. STI


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                 Contract Counterparty                     Contract           Proposed Cure
                                                                                  Cost
  222.    GroupM Plus S.r.l.                     ESA DSP                          $0.00
  223.    GroupM Publicidad Worldwide S.A.       ESA DSP                          $0.00
  224.    GroupM S.r.l.                          ESA DSP                          $0.00
  225.    GroupM S.r.l. (GroupM Italia S.r.l.)   AMDT2 to ESA DSP 2016 08         $0.00
          Wavemaker Global Ltd.                  01
  226.    Gupta Media Holdings LLC               ESA Beta SaaS                    $0.00
  227.    Gupta Media Holdings LLC               ESA Beta SaaS                    $0.00
  228.    H2O Media Inc.                         DSP Wk Order                     $0.00
  229.    Havas Media S.r.l.                     ESA DSP                          $0.00
  230.    Healthination, Inc.                    MSA Aud Acc                      $0.00
  231.    Henkel Corporation                     DMP, DSP Order                   $0.00
  232.    Hensikt AS                             ESA DSP                          $0.00
  233.    Hercules Media Sagl                    ESA DSP                          $0.00
  234.    Heureka Huge Idea Sp.z o.o. Sp.                                         $0.00
                                                 SS DSP Order
          komandytowa
  235.    HICMOBILE S.r.l.                       ESA DSP                          $0.00
  236.    High End Shopping SL                   AMDT1 to ESA DSP                 $0.00
  237.    High End Shopping SL                   ESA DSP                          $0.00
  238.                                           Mission Control Beta |           $0.00
          HowCom AB
                                                 Enterprise SaaS (EMEA)
  239. HRHH Hotel/Casino, LLC                    Advertising Agmt                 $0.00
  240. Huanqiu Internet Media Info Co.,                                           $0.00
                                                 SS DSP Order
       Ltd.
  241. Huddled Masses                            DSP Wk Order                     $0.00
  242.                                           3rd Party Marketing Vendor       $0.00
       Hulu, LLC
                                                 T&C (DMP)
  243.                                           3rd Party Marketing Vendor       $0.00
          Hulu, LLC
                                                 T&C
  244.    Hulu, LLC                              Advertising Agmt                 $0.00
  245.    HyperTv, Inc.                          ESA DSP                          $0.00
  246.    HyperTv, Inc.                          ESA DSP                          $0.00
  247.    iCrossing-Puerto Rico LLC              PMP DSP Wk Order                 $0.00
  248.    Idmedios Latam Spa                     SS DSP Order                     $0.00
  249.    Imperial Sales & Marketing GmbH        MSA DSP fixed                    $0.00
  250.    IMW Agency                              DSP Wk Order                    $0.00
  251.    Incomm Holdings Inc.                   PMP Wk Order                     $0.00
  252.    Indato Digital S.r.l.                  MSA DSP, WK Order DSP            $0.00
  253.    Inflr Atividades De Internet S.A.      SS DSP Order                     $0.00
  254.    Inka Marketing Estrategico SL          SS DSP Order                     $0.00
  255.    Inka Marketing Estrategico SL          ESA DSP                          $0.00
  256.    Innovana Thinklabs Limited             DSP Order                        $0.00
  257.    Intenseln Pty Ltd                      Adserving, SS DSP Order          $0.00
  258.    Intermedia Analytics, LLC              PMP DSP Wk Order                 $0.00

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                 Contract Counterparty                Contract            Proposed Cure
                                                                              Cost
  259.    iQuanti                             MSA SS DSP                      $0.00
  260.    iQuanti                             SOW SS DSP                      $0.00
  261.    JJ Marketing Ltd.                   ESA DSP                         $0.00
  262.    Journey Further Limited             ESA DSP                         $0.00
  263.    JPMorgan Chase                      AMDT3 to CW732383               $0.00
  264.                                        AMDT2 CW 830276                 $0.00
          JPMorgan Chase                      EXTENDS Schedule
                                              CW732383
  265. K2 Media S.A.                          ESA DSP                         $0.00
  266. Kaspersky Lab UK Ltd.                  AMDT1 to Media Svrs Agmt        $0.00
  267.                                        DSP ADDM1 to MSA Aud            $0.00
       Kayak Software Corporation
                                              Acc
  268.    Kayak Software Corporation          MSA Aud Acc                     $0.00
  269.    Koi Americas LLC                    SS DSP Order                    $0.00
  270.    Krt Marketing, Inc.                 SS DSP Order                    $0.00
  271.    KS Digital Media Limited            SS DSP Order                    $0.00
  272.    Kumma Ltd                           ESA DSP                         $0.00
  273.    Lafleur Marketing, LLC              SS DSP & Adserving Order        $0.00
  274.    Leadsense FZC                       SS DSP Order                    $0.00
  275.    Lecturio GmbH                       ESA DSP Agmt                    $0.00
  276.    Like Reply S.r.l. con Socio Unico   ESA DSP                         $0.00
  277.                                        AMDT1 to ESA DSP FXD            $0.00
          Lippupiste Oy
                                              EMEA
  278.    Lippupiste Oy                       ESA DSP FXD EMEA                $0.00
  279.    Local Corporation                   ESA DMP                         $0.00
  280.    Logitravel S.L.                     ESA DSP                         $0.00
  281.    Lottomatica Scommesse s.r.l.        Order #45012712                 $0.00
  282.    Lottomatica Scommesse s.r.l.        Order #45011878                 $0.00
  283.    Louder Digital Pty Ltd              ESA DSP                         $0.00
  284.    Luisa Via Roma Spa                  ESA DSP                         $0.00
  285.    M&R Strategic Services, Inc.        AMDT2 to SOW DMP                $0.00
  286.    M&R Strategic Services, Inc.        ADMT1                           $0.00
  287.    Mais Clicks Publicidade Ltda.       PMP DSP Wk Order                $0.00
  288.    Manta Media, Inc.                   SS DSP Order                    $0.00
  289.    Manta Media, Inc.                   ESA DSP                         $0.00
  290.    Marketing Orchestration, Inc.       PMP DMP DSP Wk Order            $0.00
  291.    Marmalade Digital Private Limited   SS DSP Order                    $0.00
  292.    Mashable                            MSA Aud Acc                     $0.00
  293.    Media Capital Fund, LLC (Latin3)    ESA DSP                         $0.00
  294.                                        SOW DMP (Grupo Televisa,        $0.00
          Media Capital Fund, LLC | Latin 3
                                              S.A.B.)




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                                                                                Cost
  295.                                          Channel Partner MSA DSP &       $0.00
          Media Capital Fund, LLC | Latin 3     DMP and Sch1 End User
                                                Agmt
  296.    Media Diamond S.L.                    ESA DSP                         $0.00
  297.    Media Direct, SIA                     DMP, SS DSP Order               $0.00
  298.    Media Italia S.p.A.                   SS DSP Order                    $0.00
  299.    Media Italia S.p.A.                   ESA Beta SaaS                   $0.00
  300.    Media Nation                          PMP DSP Wk Order                $0.00
  301.    Media Works S.A. of PL                ESA DSP                         $0.00
  302.    Mediasurfer Inc.                      SS DSP                          $0.00
  303.    Mediavo, Inc.                         SS DSP Order                    $0.00
  304.    MediaWallah LLC                       Srvs Order                      $0.00
  305.    Melia Hotels International S.A        Pixel Agmt                      $0.00
  306.    Melia Hotels International S.A.       Data Usage Agmt                 $0.00
  307.    Melia Hotels International S.A.       ESA Beta                        $0.00
  308.    Merkle, Inc.                          AMDT1 to SOW DSP                $0.00
  309.    Merkle, Inc.                          EMP SOW                         $0.00
  310.    Merkle, Inc.                          Platform Data Lic Agmt          $0.00
  311.    Merkur Interactive Services GmbH      ESA DSP                         $0.00
  312.    Meyocks Group Inc.                    PMP DSP Wk Order                $0.00
  313.    MFM Investment Ltd                    ESA DSP                         $0.00
  314.    Microsoft Corporation                 Supplier Services Agmt          $0.00
  315.    Milestone Integrated Marketing Inc.   Adserving, managed DSP          $0.00
  316.    Mindspark Interactive Network, Inc.                                   $0.00
          (and its affiliate IAC Search &       DSP Wk Order
          Media Europe, Ltd.)
  317.    Mister Bell                           Order SS DSP                    $0.00
  318.    Mobile Cloud Media (HK) Limited       ESA DSP                         $0.00
  319.    Mobile Gold Media Inc.                ESA DSP                         $0.00
  320.    Momondo A/S                           ESA DSP                         $0.00
  321.    Morgan & Morgan, P.A.                 PMP DSP Wk Order                $0.00
  322.    MountainLab Limited                   SS DSP Order                    $0.00
  323.    Moving Up S.r.l.                      ESA DSP                         $0.00
  324.    My Media SAS                          ESA DSP                         $0.00
  325.    Myntelligence Limited                 ESA DSP                         $0.00
  326.    National Cinemedia, LLC               AMDT2 to SOW DSP                $0.00
  327.    National Cinemedia, LLC               MSA & Order                     $0.00
  328.    National Cinemedia, LLC               ADDM1 to ESA                    $0.00
  329.    National Cinemedia, LLC               ESA SAAS                        $0.00
  330.    National Media, Inc.                  ESA DMP DSP                     $0.00
  331.    NBCUniversal Media, LLC               Data Agmt (Allstate)            $0.00
  332.    Neodigital Iletisim Danismanlik                                       $0.00
                                                SS DSP Order
          Ticaret Limited Sirketi

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                                                                              Cost
  333.    Net Online Ltd. (Net Natives)      ESA DSP                          $0.00
  334.    Netidea Webranking S.r.l.          ESA DSP                          $0.00
  335.    Newscore Media LLC                 SS DSP Order                     $0.00
  336.    Nickel Media Inc.                  Combo Order                      $0.00
  337.    Nova Expressao Planeamento de                                       $0.00
                                             ESA DSP
          Media e Publicidade S.A.
  338.    Nowell Marketing Limited (Osiris   MSA (agency: OSIRIS              $0.00
          Trading (PTY) Ltd                  TRADING (PTY) LTD)
  339.    NVIDIA Corporation                 All Srvs Order                   $0.00
  340.    Nyheter365 AB                      ESA DSP                          $0.00
  341.    ocono GmbH                         ESA DSP                          $0.00
  342.    Off Base                           PMP DSP Wk Order                 $0.00
  343.    Office of Experience, LLC          SS DSP Order                     $0.00
  344.    OMD Dominicana S.r.l.              DSP Wk Order                     $0.00
  345.    Omnicom Media Group S.r.l.         ESA DSP                          $0.00
  346.    Omnicom Media Group SA PTY                                          $0.00
                                             All Srvs Order
          LTD
  347.    Omnicon Media Group Holdings                                        $0.00
                                             MSA DSP DMP
          Inc.
  348.    Omnyway Inc.                       All Srvs Order                   $0.00
  349.    Omnyway Inc.                       MSA DSP, adserving               $0.00
  350.                                       Data Processing Agmt,            $0.00
          One Source Virtual, Inc.
                                             ADDM1 & APPDX 1, 2, 3
  351.    Online Media Partners GmbH         ESA DSP                          $0.00
  352.    Oportunidades Canarias SL          ESA DSP                          $0.00
  353.    Optdcom Teknoloji Yatirim A.S.     AMDT1 to ESA DSP                 $0.00
  354.    Optdcom Teknoloji Yatirim A.S.     ESA DSP                          $0.00
  355.    OptiKom Media GmbH                 ESA DSP                          $0.00
  356.    Optimus Consulting LLC             Agency MSA DSP                   $0.00
  357.    Optimus Consulting LLC             SOW DSP (see Terms Sheet)        $0.00
  358.    Orion Worldwide LLC                MSA (#N314)                      $0.00
  359.    Orion Worldwide LLC                AMDT1 to Media Agmt              $0.00
  360.                                       Media Agmt (for Universal        $0.00
          Orion Worldwide LLC
                                             McCann for MEDC) #N289
  361. Papaya Group Co Limited               SS DSP Order                     $0.00
  362. Parallel Software Development                                          $0.00
                                             Srvs Order
       Company
  363. Partenaire Regie                      Trading Agmt                     $0.00
  364. Pashadv S.r.l.                        ESA DSP                          $0.00
  365. Peel Technologies, Inc.               MSA Aud Acc                      $0.00
  366. Perfect Media Network Ltd.            All Srvs Order                   $0.00
  367. Pilot Hamburg GmbH und Co. KG         DSP Eval Agmt                    $0.00
  368. Plarium Europe SARL                   ESA DSP                          $0.00

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                                                                              Cost
  369.                                       MSA DMP (Hosted                  $0.00
          PNC Bank, National Association
                                             Technology Agmt)
  370. Portavoz Comunicaciones                                                $0.00
                                             SS DSP Order
       Integradas SL
  371. Priceline.com, LLC                    MSA Aud Acc                      $0.00
  372. Procter & Gamble Company              Third Party Tag Agmt             $0.00
  373. Procter & Gamble Company              AMDT2 to Wk Order1               $0.00
  374. Procter & Gamble Company              AMDT1 to Wk Order1               $0.00
  375. Programatik Reklam Bilisim                                             $0.00
                                             SOW DSP Sifiraracal
       Organizasyon Tic. Ltd. Sti.
  376. Programatik Reklam Bilisim                                             $0.00
                                             SOW DSP Moda Merve
       Organizasyon Tic. Ltd. Sti.
  377. Programatik Reklam Bilisim                                             $0.00
                                             SOW DSP Media Click
       Organizasyon Tic. Ltd. Sti.
  378. Programatik Reklam Bilisim                                             $0.00
                                             SOW DSP Eti Bilgisayar
       Organizasyon Tic. Ltd. Sti.
  379. Programatik Reklam Bilisim                                             $0.00
                                             ESA DSP
       Organizasyon Tic. Ltd. Sti.
  380. Proper Digital Marketing Agency                                        $0.00
                                             ESA DSP
       Helsinki (P+SBD)
  381. Publicis Media Italy S.r.l.           ESA DSP                          $0.00
  382. Publicis Media Italy S.r.l.           AMDT1 to ESA                     $0.00
  383. Publicis Media, Inc.                  AMDT7 to extend DSP              $0.00
  384. Publisher's International PTY Ltd     DSP Order                        $0.00
  385. Pumpkin Labs Inc.                     SS DSP Order                     $0.00
  386. PureWOW                               MSA Aud Acc                      $0.00
  387. QuinStreet, Inc.                      MSA Aud Acc                      $0.00
  388. Quisma GmbH (Light Reaction)          ESA Self Serve DSP               $0.00
  389.                                       SOW DSP Self Service (w/         $0.00
       Quotient Technology Inc.
                                             Mgd Srv) (aka Coupons.com)
  390.    RCW, Inc. (M. Gemi)                EMP (Audience & Insights)        $0.00
  391.    ReachAd GmbH                       SS DSP Order                     $0.00
  392.    Red Media Consulting AS            ESA DSP                          $0.00
  393.    Resolution Media GmbH (aka                                          $0.00
                                             AMDT2 to ESA DSP
          OMG)
  394.    Resolution Media GmbH (aka                                          $0.00
                                             ESA Beta SaaS
          OMG)
  395.    Reveal Content                     SS DSP Order                     $0.00
  396.    Revenue Engineers B.V.             AMDT1 to ESA DSP                 $0.00
  397.    Revenue Engineers B.V.             ESA DSP                          $0.00
  398.    Rise Interactive                   ESA DSP                          $0.00
  399.    RIUSA II SA                        SS DSP Order                     $0.00



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                                                                               Cost
  400.                                        Srv Agmt (for RFP - basic        $0.00
          RobbinsKersten Direct, LLC          agmt to get started, then
                                              campaigns)
  401.    ROI Media Consultants               AMDT1 to SOW DSP                 $0.00
  402.    ROI Media Consultants               Agency MSA DSP                   $0.00
  403.    ROI Media Consultants               SOW DSP                          $0.00
  404.    Roket Media Ltd                     ESA DSP                          $0.00
  405.    Rousemobi Limited                   SS DSP Order                     $0.00
  406.    S&P Global Inc.                     SS DSP Order                     $0.00
  407.    SCL Elections Ltd. (aka Cambridge                                    $0.00
                                              AMDT1 to SOW DMP DSP
          Analytica)
  408.    Scoppechio, Inc.                    ESA DSP                          $0.00
  409.    Search Optics, LLC                  ADMT to SOW (extend)             $0.00
  410.    Search Optics, LLC                  ESA BETA DSP                     $0.00
  411.    Seeking Alpha Ltd.                  MSA Audience Accelerator         $0.00
  412.    Selectivv Europe SP zoo             ESA DSP                          $0.00
  413.    Six Continents Hotels, Inc. (IHG)   Advertising Agmt                 $0.00
  414.    Sizmek Technologies, Inc.           AMDT1 to WK ORDER DSP            $0.00
  415.                                        Affiliate Adopting Agmt to       $0.00
          Sizmek Technologies, Inc.
                                              MSA DSP (Australia)
  416. Sizmek Technologies, Inc.              WK ORDER DSP                     $0.00
  417. Sky Section Reklamcilik                                                 $0.00
       Organizasyon Ve Danismanlik            ESA DSP
       Limited Sirketi
  418. Smart Reach Digital, LLC (a                                             $0.00
       subsidiary of Entercom
                                              AMDT1 to SOW DSP &
       Communications Corp) (fka CBS
                                              Assignment
       Local Digital Media (division of
       CBS Radio Inc.)
  419. Social Boom LLC                        ESA DSP                          $0.00
  420. Sony Interactive Entertainment         MSA Srv Agmt (they use our       $0.00
       Network America LLC                    software and we active)
  421. SoSoAds Limited                        SS DSP, Peer39 Order             $0.00
  422. Spacedealer GmbH                       ESA DSP                          $0.00
  423. Sparc Media PTY LTD                    ESA DSP                          $0.00
  424. Spectrum Communications (Pvt.)                                          $0.00
                                              MSA & SS DSP Order
       Ltd.
  425. Spigot, Inc.                           Srv Order                        $0.00
  426. Spinach Advertising Pty Ltd            AMDT1 to ESA DSP                 $0.00
  427. Spinach Advertising Pty Ltd            ESA DSP                          $0.00
  428. SPM Marketing & Communciations         MSA Trial SS DSP                 $0.00
  429. Starmobi Limited                       SS DSP Order                     $0.00
  430. Statiq Limited                         MSA Channel Partner              $0.00


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                 Contract Counterparty                  Contract              Proposed Cure
                                                                                  Cost
  431. Stinson Partners (dba Beeby Clark                                          $0.00
                                              Media DSP Agmt (X+1)
       Meyler | BCM)
  432. Storm (ID) Ltd                         ESA DSP                             $0.00
  433. Sublime Skinz Ltd.                     Managed DSP Order                   $0.00
  434. SuprNation Services Ltd.               ESA DSP                             $0.00
  435. Survata, Inc.                          SS DSP Order                        $0.00
  436.                                        Data Flow Agmt - Srvs in            $0.00
                                              Digital Marketing Agmt
          Swisscom (Schweiz) AG               #5200000711 (to sit alongside
                                              the managed service Media IO
                                              business)
  437. Tailwind EMEA Holdings Ltd             SAS. SS DSP Order                   $0.00
  438. Taptica Limited                        SS DSP Order                        $0.00
  439. Target Marketing &                                                         $0.00
                                              Adserving, SS DSP Order
       Communications Inc.
  440.                                        AMDT2 (SS DSP) to 2009              $0.00
       TCAA, Inc.
                                              Srv Agmt
  441.    Teyame 360 S.L.                     ESA DSP                             $0.00
  442.    Thalamus, Inc.                      SAS, SS DSP Order                   $0.00
  443.    The Auto Club Group                 All Srvs Order                      $0.00
  444.    The Basement Inc.                   Managed & SS DSP Order              $0.00
  445.    The Craft Media Company SL          ESA DSP                             $0.00
  446.    The Economist Newspaper Ltd.        ESA DSP                             $0.00
  447.    The Economist Newspaper NA, Inc.    MSA Audience Accelerator            $0.00
  448.    The Halo Group                      ESA DSP                             $0.00
  449.    The Level Group S.r.l               ESA DSP                             $0.00
  450.    The Quantium Group Pty Ltd          Media Agency Agmt                   $0.00
  451.    The Richards Group                  SOW DMP (MD Anderson)               $0.00
  452.    The Trigger Company AB              ESA DSP                             $0.00
  453.    Thermo Fisher Scientific Inc.       SOW2                                $0.00
  454.    Thermo Fisher Scientific Inc.       SOW1                                $0.00
  455.    ThreePipe Communications Ltd.       ESA DSP                             $0.00
  456.    Time + Space Media Limited          Trading Agmt                        $0.00
  457.    Tisoomi GmbH                        ESA DSP                             $0.00
  458.    TMRW London Limited (t/a                                                $0.00
                                              ESA DSP
          TomorrowTTH)
  459.    Tommie Copper, Inc.                 SOW1 EMP                            $0.00
  460.    Tradedoubler Espana SL              ESA DSP                             $0.00
  461.    Trilegiant Corporation              MSA DMP (Affinion)                  $0.00
  462.    Trulia                              MSA Audience Accelerator            $0.00
  463.    Trusted Media Brands, Inc. (The                                         $0.00
                                              PMP DSP Wk Order
          Reader's Digest Association Inc.)
  464.    TTNET A.S.                          ESA DSP                             $0.00


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                 Contract Counterparty                 Contract            Proposed Cure
                                                                               Cost
  465.    Tungsten Network Limited           SOW DMP (managed)                 $0.00
  466.    Turbo S.r.l.                       ESA Beta Agmt                     $0.00
  467.    TZ Insurance Solutions LLC         ADDM1 to Short Term               $0.00
  468.    United Media Group                 SOW DSP Channel Partner           $0.00
  469.    Upgrade S.r.l.                     ESA DSP                           $0.00
  470.    Verizon Online                     PSA (w/ X+1)                      $0.00
  471.    Verizon Sourcing LLC (Verizon      Cloud Srvs & Software Lic         $0.00
          Online)                            Agmt for PSA 2010 10 12
  472.    Viajes GTI Grupo Turistico                                           $0.00
                                             ESA DSP
          Internacional SA
  473.    Viant US, LLC                      DSP Wk Order                      $0.00
  474.    Vice Studio Canada Inc.            SS DSP Trial Order                $0.00
  475.    Vici Media Inc.                    SS DSP                            $0.00
  476.    Vidazoo Limited                    ESA DSP                           $0.00
  477.    Videobeat Networks Ltd.            ESA DSP                           $0.00
  478.    Videoclick Advertising Srl         ESA DSP                           $0.00
  479.    Visit Hershey & Harrisburg, Inc.   SS DSP Order                      $0.00
  480.    Vivaki SRL                         ESA self serve                    $0.00
  481.    Vivaki Turkey Medya Hizmetleri                                       $0.00
                                             ESA DSP
          A.S.
  482.    VivaKi, Inc.                       ADDM2 to Short Term               $0.00
  483.    VivaKi, Inc.                       ADDM1 to Short Term               $0.00
  484.    Vivalu GmbH                        Adserving, SS DSP Order           $0.00
  485.                                       AMDT1 to SOW DSP                  $0.00
          Voice Media LLC
                                             (extension)
  486.    Voice Media LLC                    ESA DSP                           $0.00
  487.    Wavemaker GmbH                     ESA DSP                           $0.00
  488.    Web Financial Group S.A.           ESA DSP                           $0.00
  489.    Web3 Ltd.                          ESA DSP                           $0.00
  490.    WebAds S.r.l.                      ESA DSP                           $0.00
  491.    WebSelectMedia                     SS DSP Order                      $0.00
  492.    Westpac Banking Corporation        Master Supplier Agmt              $0.00
  493.                                       Media Srvs Agmt for Premier       $0.00
          Whitbread Group PLC
                                             Inn
  494. WhoSay Inc.                           MSA Aud Acc                       $0.00
  495. Wizink Bank S.A. (fka:                AMDT1 to ESA DSP (for             $0.00
       Bancopopular-e S.A.)                  WiZink)
  496. Wizink Bank S.A. (fka:                                                  $0.00
                                             ESA DSP (for WiZink)
       Bancopopular-e S.A.)
  497. Wouamm                                SS DSP Order                      $0.00
  498. WS Conversion-Pros Ltd.               ESA DSP                           $0.00
  499. Xister S.r.l.                         ESA DSP                           $0.00
  500. XT Media Group                        All Srvs Order                    $0.00

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                 Contract Counterparty                Contract            Proposed Cure
                                                                              Cost
  501.    XY - The Persistent Company        SS DSP Order                     $0.00
  502.    Yango Media Pty Ltd                All Srvs Order                   $0.00
  503.    Yango Media PTY LTD                ESA DSP Self Serve               $0.00
  504.    Yidial Limited                     SS DSP Order                     $0.00
  505.    YiDong Internet Media Co., Ltd.    SS DSP Order                     $0.00
  506.    Yieldbird Sp.zoo                   ESA DSP                          $0.00
  507.    Yuglr Media BV                     ESA DSP                          $0.00
  508.    YummoreMedia LLC                   SS DSP Order                     $0.00
  509.    Zappos IP, Inc.                    T&Cs and IO                      $0.00
  510.    Zero Moment of Truth               Agency MSA DSP                   $0.00
  511.    Zero Moment of Truth               SOW DSP                          $0.00
  512.    ZhaoHui Internet Technology Co.,                                    $0.00
                                             SAS, SS DSP Order
          Ltd.




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                                             Exhibit 2

                               Blackline of Proposed Assumption Order




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                               )
 In re:                                                        )        Chapter 11
                                                               )
 SIZMEK INC., et al.,1                                         )        Case No. 19-10971 (SMB)
                                                               )
                                     Debtors.                  )        (Jointly Administered)
                                                               )

      ORDER GRANTING DEBTORS’ FIRST MOTION FOR ENTRY OF AN ORDER (I)
        AUTHORIZING AND APPROVING THE ASSUMPTION AND ASSIGNMENT
      OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES TO ZETA GLOBAL
     HOLDINGS CORP. IN CONNECTION WITH SALE OF DEMAND SIDE PLATFORM
     AND DATA MANAGEMENT PLATFORM AND (II) GRANTING RELATED RELIEF

          Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

 (collectively, “Debtors”) for the entry of an order, pursuant to sections 105(a) and 365 of title 11 of

 the United States Code (the “Bankruptcy Code”), authorizing Debtors to assume and assign to

 Buyer the Assigned Leases set forth on Exhibit B to the Motionexecutory contracts and unexpired

 lease identified on Exhibit A attached hereto (the “Assigned Contracts”), as more fully set forth in

 the Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334 and the Amended Standing Order of Reference from the United States District Court for the

 Southern District of New York, dated February 1, 2012; and this Court having authority to enter a

 final order consistent with Article III of the United Constitution; and this Court having found that

 venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and

 1409; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b);


 1
      Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
      Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106); and
      X Plus Two Solutions, LLC (4914). The location of Debtors’ service address for purposes of these chapter 11
      cases is: 401 Park Avenue South, 5th Floor, New York, NY 10016.
 2    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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 and this Court having found that Debtors’ notice of the Motion and opportunity for a hearing on

 the Motion were appropriate under the circumstances and no other notice need be provided; and

 this Court having reviewed the Motion and having heard the statements in support of the relief

 requested therein at a hearing, if any, before this Court (the “Hearing”); and this Court having

 determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

 cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

 due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                   1.       The Motion is granted as set forth herein.

                   2.       The requirements of Bankruptcy Rule 6006(f) are hereby waived as they

 relate to the Motion.

                   3.       The assumption and assignment of the Assigned Contracts pursuant to the

 terms of this Order is integral to the APA, is in the best interests of Debtors and their estates,

 creditors, and other parties in interest and represents the reasonable exercise of sound and prudent

 business judgment by Debtors.

                   4.       Pursuant to section 365(a) of the Bankruptcy Code, Debtors are authorized

 and directed to assume and assign the Assigned Contracts to Buyer free and clear of all liens,

 claims, encumbrances and other interests arising prior to assumption and assignment, except for

 Buyer’s obligation to pay certain applicable Cure Costs. With respect to each Assigned Contract,

 payment of the Cure Costs shall (a) effect a cure of all monetary defaults existing thereunder, (b)

 compensate the applicable Assigned Contract counterparty for any actual pecuniary loss resulting

 from any such default, and (c) together with the assignment of the Assigned Contracts by Buyer,

 constitute adequate assurance of future performance thereof.




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                   5.       Any provision in or effect of any Assigned Contract that prohibits or

 conditions the assignment of such Assigned Contract or allows the counterparty to such Assigned

 Contract to terminate, recapture, impose any penalty, condition on renewal or extension or modify

 any term or condition upon the assignment of such Assigned Contract, constitutes an

 unenforceable anti-assignment provision that is void and of no effect pursuant to section 365(f) of

 the Bankruptcy Code. All other requirements and conditions under sections 363 and 365 of the

 Bankruptcy Code for the assumption by Debtors and assignment to Buyer of the Assigned

 Contracts have been satisfied, and such assumption and assignment shall not constitute a default

 thereunder. Upon the closing of the APA and the payment of the required Cure Costs, Buyer shall

 be fully and irrevocably vested with all right, title and interest of Debtors under each Assigned

 Contract, and Debtors shall be relieved, pursuant to section 365(k) of the Bankruptcy Code, from

 any further liability to the counterparties to such Assigned Contracts.

                   6.       Assumption of the Assigned Leases shall be effective notwithstanding a

 dispute over the proposed Cure Costs. In accordance with the terms of the APA, Buyer shall pay

 the Cure Costs as soon as practicable after assumption of any Assumed Lease pursuant to this

 Order. Any disputed Cure Cost must be paid promptly after the earlier of (a) the date on which

 Debtors and the counterparty to the Assigned Contract agree on an amount or (b) the date specified

 in a final and non-appealable order entered by this Court determining such amount. Debtors and

 Buyer shall cooperate concerning the resolution of disputed Cure Costs.

                   7.       Upon the entry of this Order, the counterparties of the Assigned Contracts

 shall be forever barred and enjoined from asserting against Debtors any defaults, claims, interest or

 other default penalties under the Assigned Contract arising prior to the date of this Order.




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                   8.       Assumption of any Assigned Contract or payment of an associated Cure

 Cost does not represent a waiver by Debtors of any rights, claims, or defenses in connection with

 or arising under any such Assigned Contract.

                   9.       Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.

                   10.      This Court shall retain jurisdiction with respect to all matters arising from

 or related to the implementation and/or interpretation of this Order.



 Dated: ____________, 2019
 New York, New York                                  THE HONORABLE STUART M. BERNSTEIN
                                                     UNITED STATES BANKRUPTCY JUDGE




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    Document comparison by Workshare 9.5 on Tuesday, May 28, 2019 4:08:54 PM
    Input:
                        file://\\nyc-us-file-01\Users$\llersner\Desktop\Zeta Contract
    Document 1 ID       Docs\As filed Order re Motion to Assume and Assign (Zeta
                        contracts).docx
                        As filed Order re Motion to Assume and Assign (Zeta
    Description
                        contracts)
                        file://\\nyc-us-file-01\Users$\llersner\Desktop\Zeta Contract
    Document 2 ID
                        Docs\Revised Proposed Order re Zeta Assumption.docx
    Description         Revised Proposed Order re Zeta Assumption
    Rendering set       Firm Word - Adds Double Underline, Delete Strikethrough

    Legend:
    Insertion
    Deletion
    Moved from
    Moved to
    Style change
    Format change
    Moved deletion
    Inserted cell
    Deleted cell
    Moved cell
    Split/Merged cell
    Padding cell

    Statistics:
                        Count
    Insertions                                    4
    Deletions                                     4
    Moved from                                    0
    Moved to                                      0
    Style change                                  0
    Format changed                                0
    Total changes                                 8
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                                             Exhibit 3
                                  Blackline of Assigned Contracts




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                                              Exhibit BA

                                          Assigned Contracts


                       Contract Counterparty                   Contract         Proposed
                                                                                Cure Cost
 1.               42Digital GmbH                    ESA DSP                       $0.00
 2.               7 Interactive                     T&C Agmt                      $0.00
 3.               77 Agency S.r.l. (Milano)         ESA DSP                       $0.00
 4.               7Hops.com Inc. (dba: ZergNet)     Trial SS DSP Order            $0.00
 5.               7Hops.com Inc. (dba: ZergNet)     MSA SS DSP                    $0.00
 6.               888 Holdings Public Limited                                     $0.00
                  Company (Virtual Marketing        ESA DSP
                  Services (Gibraltar) Limited)
 7.               Active International              AMDT1 To Trade                $0.00
 8.               Active International              Trade Agmt                    $0.00
 9.               Ad Action                         ESA DSP                       $0.00
 10.              ad2games GmbH                     AMDT1 to ESA DSP              $0.00
 11.              ad2games GmbH                     ESA DSP                       $0.00
 12.              Adapt Media Inc.                  SS DSP Order                  $0.00
 13.              AdBlot, Inc.                      Agency MSA DSP                $0.00
 14.              AdBlot, Inc.                      SOW DSP                       $0.00
 15.              AdCellerant                       DSP Wk Order                  $0.00
 16.              Adcleek                           ESA DSP                       $0.00
 17.              Address S.r.l.                    ESA DSP                       $0.00
 18.              Adgravitygroup S.L.               ESA DSP                       $0.00
 19.              AdmobSphere S.r.l.                ESA DSP                       $0.00
 20.              AdReady (CPX Interactive)         AMDT2 to DSP Wk Order         $0.00
 21.              AdReady (CPX Interactive)         AMDT1 to DSP Wk Order         $0.00
 22.              AdReady (CPX Interactive)         DSP Wk Order                  $0.00
 23.              AdReady (CPX Interactive)         MSA SS DSP                    $0.00
 24.              AdReady (CPX Interactive)         ESA SaaS                      $0.00
 25.              AdRelated FZ-LLC                  SS DSP Order                  $0.00
 26.              Adsbenchpty Limited               DSP DMP Order                 $0.00
 27.              AdsCompanion                      ESA DSP                       $0.00
 28.                                                Adserving, SS DSP, DMP        $0.00
                  Adsige Inc.
                                                    Order
 29.              AdSkyline NetowrkNetwork                                        $0.00
                                                    SS DSP Order
                  Technology Co., Ltd.
 30.              Adsocial S.A. de C.V.             SS DSP Order                  $0.00
 31.              Advant Technology Ltd.            ESA DSP                       $0.00
 32.              Advantage AMP, Inc.               T&C AMDT to IAB V3            $0.00
 33.              AdverServe Digital Advertising                                  $0.00
                                                    AMDT to ESA Beta
                  Services GmbH


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                       Contract Counterparty                     Contract            Proposed
                                                                                     Cure Cost
 34.              AdverServe Digital Advertising                                       $0.00
                                                         ESA Beta SaaS
                  Services GmbH
 35.              Adviso Conseil, Inc.                   Wk Order DSP DMP              $0.00
 36.                                                     MSA DSP + EMP (90 day         $0.00
                  Adviso Conseil, Inc.
                                                         out clause)
 37.              Affiperf Limited                       ESA DSP                       $0.00
 38.              Affiperf Limited                       ESA DSP                       $0.00
 39.              Agency of Record, LLC (dba:                                          $0.00
                                                         Adserving, Managed DSP
                  Quality Produce)
 40.              AimClear, LLC                          SAS, SS DSP Order             $0.00
 41.              Algortech Limited                      SS DSP Order                  $0.00
 42.              Alkemy S.p.a.                          ESA Beta SaaS                 $0.00
 43.              Alley Group Pty Ltd.                   ESA DSP FXD EMEA              $0.00
 44.              Alliance Advertising &                                               $0.00
                                                         MSA/SAS, DSP Order
                  Marketing
 45.              Allstate (Esurance Insurance           AMDT1 to IAB Terms (a         $0.00
                  Services, Inc.)                        subsidiary of Allstate)
 46.              Allstate Insurance Company             PSA (X+1)                     $0.00
 47.              Alpha Digital Design Consultants                                     $0.00
                                                         ESA DSP
                  (Aust) Pty Ltd.
 48.              American Express (InComm)              Data Sharing Agmt             $0.00
 49.              Amnet Italia S.r.l.                    AMDT1 to ESA                  $0.00
 50.              Amnet Italia S.r.l.                    ESA Beta SaaS                 $0.00
 51.              Amnet Reklamcilik ve Medya                                           $0.00
                                                         ESA DSP
                  Iletisim Hizmetleri Tic. Ltd.
 52.              Amnet Spain, S.L.U.                    ESA DSP                       $0.00
 53.              Amplifi Technology Limited             Supplier MSA - Global         $0.00
                  (Dentsu)                               Dentsu MSA
 53. 54.                                                 AMDT1 to Trading Agmt         $0.00
                  AMS Media Group Limited                2018 (AND, HARVEST
                                                         DIGITAL)
 54.              AMS Media Group Limited                ESA Beta SaaS                 $0.00
 55.              AMS Media Group                                                      $0.00
                                                         ESA Beta SaaS
                  LimitedAnnalect GmbH
 56.              Anheuser Busch InBev                                                 $0.00
                                                         MSA (goods & srvs)
                  Procurement GmbH
 57.              Annalect GmbH                          ESA Beta SaaS                 $0.00
 56. 58.          Anyclip Ltd                            Wk Order DSP                  $0.00
 57. 59.          AOR Dominicana S.r.l.                  All Srvs Order                $0.00
 60.              Apple Inc.                             Global MSA & SOW              $0.00
 58. 61.                                                 Adnexus Agmt Buyer (w/        $0.00
                  AppNexus
                                                         X+1)
 59. 62.          AppNexus                               DisplayWords Agmt (w/         $0.00


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                       Contract Counterparty                     Contract             Proposed
                                                                                      Cure Cost
                                                         X+1)
 60. 63.          AppNexus                               Exchange Agmt                  $0.00
 61. 64.                                                 MapUID Supplement (to          $0.00
                  AppNexus
                                                         Data Agmt)
 62. 65.                                                 Data Management Platform       $0.00
                  AppNexus
                                                         Agmt
 63. 66.          ARC Science Ltd.                       AMDT1 to ESA Beta SaaS         $0.00
 64. 67.          ARC Science Ltd.                       ESA Beta SaaS                  $0.00
 65. 68.          Arkitekt Digital Reklam ve                                            $0.00
                                                         ESA DSP
                  Pazarlama A.S.
 66. 69.          Arrivalist Co.                         MSA (their)                    $0.00
 67. 70.          Aruba S.p.A.                           ESA DSP                        $0.00
 68. 71.                                                 ADDM3 (Rev Share for           $0.00
                  Audience X
                                                         Transferred Accts)
 69. 72.          Audience X                             ADDM2 to ESA DSP               $0.00
 70. 73.          Audience X                             ADDM1 to ESA DSP               $0.00
 71. 74.          Audience X                             ESA DSP                        $0.00
 72. 75.          Audion, SAS                            SS DSP Order                   $0.00
 73. 76.                                                 Advertiser MSA DSP (Self       $0.00
                  Bazaarvoice, Inc.
                                                         Srv & Mgd)
 74. 77.                                                 SOW DSP Self Service (w/       $0.00
                  Bazaarvoice, Inc.
                                                         Mgd Srv)
 75. 78.          BE Media Group, LLC                    ESA DSP Self Serve             $0.00
 76. 79.          Beijing Young'an Advertising Co.                                      $0.00
                                                         ESA DSP
                  Ltd (trading as New Light Media)
 77. 80.          Beintoo SpA                            SS DSP Order                   $0.00
 78. 81.          Betsson Services Limited               ESA DSP Self Service           $0.00
 79. 82.          Better Search AB                       ESA Beta SaaS                  $0.00
 80. 83.          Bidsprime Limited                      Combo Order                    $0.00
 81. 84.          Bigpoint GmbH                          ESA DSP                        $0.00
 82. 85.          BL IIeism ve Medya Hizmetleri                                         $0.00
                                                         SS DSP Order
                  A.S.
 83. 86.          Blexr Limited                          ESA DSP                        $0.00
 84. 87.          Blizzard Entertainment, Inc.           Advertiser MSA DMP             $0.00
 88.              Blue Moon Works, Inc.                  Srv Agmt                       $0.00
 85. 89.          BoldWin Ltd.                           SS DSP Order                   $0.00
 86. 90.          Booyah Advertising                     ADDM7 to SOW DSP               $0.00
 87. 91.          Booyah Advertising, Inc.               ESA Beta SaaS                  $0.00
 88. 92.                                                 ADDM5 to SOW                   $0.00
                  Booyah Advertising, Inc.               (Sequential Liability
                                                         several)
 89. 93.          Booyah Advertising, Inc.               Agency MSA DSP                 $0.00
 90. 94.          Booyah Advertising, Inc.               ESA Beta SaaS                  $0.00


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                       Contract Counterparty                  Contract               Proposed
                                                                                     Cure Cost
 91. 95.                                              ADDM1 TO 2018 MSA &              $0.00
                  Booyah Networks, Inc.
                                                      All Srvs Order
 92. 96.   Booyah Networks, Inc.                      All Srvs Order                   $0.00
 93. 97.   Boraso S.r.l.                              ESA DSP                          $0.00
 94. 98.   BRAINtrust Marketing +                                                      $0.00
                                                      SS DSP & Adserving Order
           Communications
 95. 99.   Bravonext SA (on behalf of                                                  $0.00
                                                      SOW DSP
           lastminute.com group)
 96. 100.  Bravonext SA (on behalf of                 Data Processing Agmt (Exh        $0.00
           lastminute.com group)                      A)
 97. 101.  Brill Media                                All Srvs Order                   $0.00
 98. 102.  Brindis Events S.L.                        SS DSP Order                     $0.00
 99. 103.  Cadreon CEE Kft.                           Affiliate Agmt (Hungary)         $0.00
 100. 104. Cadreon FZ LLC                             ESA DSP                          $0.00
 101. 105. Cadreon, LLC                               SOW DMP                          $0.00
 102. 106.                                            Affiliate Agmt (Cadreon          $0.00
           Cadreon, LLC                               India Private Limited) to
                                                      MSA DMP DSP
 103.      107.                                       Affiliate Agmt (IPG              $0.00
                  Cadreon, LLC                        Mediabrand, Copenhagen,
                                                      Denmark)
 104.      108.                                       Affiliate Agmt (IPG              $0.00
                  Cadreon, LLC
                                                      Mediabrand, S. Africa)
 105.      109.                                       Affiliate Agmt (Sweden           $0.00
                  Cadreon, LLC
                                                      under IPG/IUM)
 106.      110.   Cadreon, LLC                        AMDT7 to MSA                     $0.00
 107.      111.   Cadreon, LLC                        Affiliate Agmt (Australia)       $0.00
 108.      112.   Caesars Media UG                    ESA DSP                          $0.00
 109.      113.   Cairns O'Neil Strategic Media                                        $0.00
                                                      DSP Wk Order
                  Inc.
 110.      114.   CaptchaAD GmbH                      ESA DSP                          $0.00
 115.             Captify Technologies Limited        AMDT1 to Order                   $0.00
 116.             Captify Technologies Limited        Srvs Order                       $0.00
 111.      117.   CBS Local Digital Media                                              $0.00
                                                      SOW Ltr Agmt
                  (division of CBS Radio Inc.)
 112.      118.   CBS Local Digital Media                                              $0.00
                                                      SOW DSP (standard)
                  (division of CBS Radio Inc.)
 113.      119.   CBS Local Digital Media                                              $0.00
                                                      ESA DSP
                  (division of CBS Radio Inc.)
 120.             Chanel SAS                          AMDT4 to extend                  $0.00
 114.      121.   CIGNAL.IO LTD                       SS DSP, DMP Order                $0.00
 115.      122.   Citibank, N.A.                      AMDT1 (#SF-10506-2018)           $0.00
 116.      123.   Citibank, N.A.                      Appendix D                       $0.00


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                         Contract Counterparty                           Contract                    Proposed
                                                                                                     Cure Cost
 117.       124. Citibank, N.A.                                Wk Order4 (Bullseye)                    $0.00
 118.       125. Clauwitz Innovations Private                                                          $0.00
                                                               SS DSP Order
                 Limited
 119.       126. Clear Channel Outdoor, Inc.                   AMDT2 to MSA                              $0.00
 120.       127. Clear Channel Outdoor, Inc.                   AMDT1 to MSA                              $0.00
 121.       128.                                               EMP IO Rider (WITH 1PD                    $0.00
                 Clearly Contacts
                                                               data utilization & scope)
 122.       129. Click Chilli Limited                          ESA DSP                                   $0.00
 123.       130. Coast Digital Limited                         AMDT1 to ESA DSP                          $0.00
 124.       131. Coast Digital Limited                         ESA DSP                                   $0.00
 132.            Colgate Palmolive Comercial                                                             $0.00
                                                               SAS Order
                 Ltda
 133.            Colgate Palmolive Company                     AMDT1 to MSA                              $0.00
 134.            Collective, Inc.                              AMDT2                                     $0.00
 125.       135. Compensa Bolsa de Intercambio                                                           $0.00
                                                               ESA DSP
                 S.L.
 136.            ComunicacionCreativa                                                                    $0.00
                                                               Order
                 Manifiesto, S.L.
 126.       137. Connected Interactive Inc.                    SS DSP Order                              $0.00
 127.       138. Constellation Consulting Ibérica,                                                       $0.00
                                                               SS DSP Order
                 S.L.
 128.       139. Contactica                                    All Srvs Order                            $0.00
 129.       140. Contagion M Limited                           Srv Agmt                                  $0.00
 130.       141. Cossette Communications Inc.                  Advertiser MSA DMP DSP                    $0.00
 131.       142.                                               Affiliate Adopting Agmt to                $0.00
                 CPXI Asia Pte Ltd.
                                                               DSP
 132.       143.   Crave + Lamb Ltd                            ESA SaaS (EMEA)                           $0.00
 133.       144.   Cross Tech Lab Ltd.                         SS DSP Order                              $0.00
 134.       145.   Crossmedia                                  MSA Beta                                  $0.00
 135.       146.   Croud Inc Ltd                               DSP Order                                 $0.00
 136.       147.   Cutwater-San Francisco                      DSP Wk Order                              $0.00
 137.       148.   Cyber Communications, Inc.                                                            $0.00
                                                               Alliance Agmt
                   (CCI)
 138.       149.   Cyber Communications, Inc.                  SRV USE AGMT (OpenX                       $0.00
                   (CCI)                                       in Japan)
 139.       150.   DataFirst GmbH                              ESA DSP                                   $0.00
 140.       151.   Dentsu Dominicana S.r.l.                    Adserving, SS DSP Order                   $0.00
 141.       152.   Designsentory                               Open Ad Order                             $0.00
 153.              Dewynters Limited                           Srvs Agmt                                 $0.00
 142.       154.   DFS Italia Srl                              ESA DSP Self Service                      $0.00
 143.              DFS Services LLC                            MSA1                                      $0.00

 1   This Assigned Contract was added, after the Motion was filed, at the request of DFS Services LLC.


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                         Contract Counterparty                            Contract                     Proposed
                                                                                                       Cure Cost
 144.                                                           Software as a Service                    $0.00
                    DFS Services LLC
                                                                Addendum2
 145.       155. Diamond Merckens Hogan, Inc.                   Agency MSA DSP                            $0.00
 146.       156.                                                SOW DSP Self Service (w/                  $0.00
                 Diamond Merckens Hogan, Inc.
                                                                Mgd Srv)
 147.       157. Dicom, Inc.                                    AMDT1 to DSP Wk Order                     $0.00
 148.       158. Dicom, Inc.                                    PMP DSP Wk Order                          $0.00
 149.       159. Dievision Media & Solutions                                                              $0.00
                                                                AMDT1 to ESA DSP
                 GmbH
 150.       160. Dievision Media & Solutions                                                              $0.00
                                                                ESA DSP
                 GmbH
 151.       161. Digging Interacitve Ltd.                       SS DSP Order                              $0.00
 152.       162. Digital Group Branch S.L.                      ESA DSP                                   $0.00
 153.       163. Digital Infusion Pvt. Ltd.                     ESP Beta SaaS                             $0.00
 154.       164. DigitaLand                                     DSP Wk Order                              $0.00
 155.       165. Digitouch Dijital Pazarlama ve                                                           $0.00
                                                                ESA DSP
                 Medya A.S.
 156.       166. Digitouch S.r.l.                               AMDT2 TO ESA DSP                          $0.00
 157.       167. Digitouch S.r.l.                               AMDT1 TO ESA DSP                          $0.00
 158.       168. Digitouch S.r.l.                               ESA Beta SaaS self service                $0.00
 159.       169. Diray Media, Inc.                              Wk Order DSP                              $0.00
 160.       170. Direct Source Media Ltd.                       SOW DSP (trial)                           $0.00
 161.       171. Direct Source Media Ltd.                       Agency MSA DSP                            $0.00
 162.       172. Discover Products Inc.                         AMDT2 to SOW                              $0.00
 163.       173. Discover Products Inc.                         SOW Sch8 to MSA 2008                      $0.00
 164.       174. Discover Products Inc.                         SOW Sch7 to MSA 2008                      $0.00
 165.            Discover Products Inc.                         Services Agreement3                       $0.00
 166.                                                           Agreement between                         $0.00
                    Discover Products Inc. (DFS)                Discover Products Inc.
                                                                (DFS) and Rocket Fuel Inc. 4
 167.       175.    DISH Network LLC                            Terms of Service                          $0.00
 168.       176.    DK Solutions Spa                            DSP Wk Order                              $0.00
 169.       177.    DMWD GmbH                                   ESA DSP                                   $0.00
 170.       178.    DOTC Pte. Ltd.                              SS DSP Order                              $0.00
 171.       179.    Double Digit Ltda                           SS DSP Order                              $0.00
 172.       180.    Dr Pepper Snapple Group, Inc.               MSA PMPS                                  $0.00
 173.       181.    Dr Pepper Snapple Group, Inc.               Programmatic Mrking                       $0.00


 2   This Assigned Contract was added, after the Motion was filed, at the request of DFS Services LLC.
 3   This Assigned Contract was added, after the Motion was filed, at the request of Discover Products Inc.
 4   This Assigned Contract was added, after the Motion was filed, at the request of Discover Products Inc.


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                                                                                     Cure Cost
                                                      Platform & Srvs (PMPS)
                                                      SOW Managed Srv Media
                                                      (fxd)
 182.                                                 Dropbox Internal User SaaS       $0.00
                  Dropbox, Inc.
                                                      Order, Agmt & DPA
 174.     183. Drumbeat Digital LLC (dba                                               $0.00
                                                      Media Buy Agmt|T&Cs
               Heartbeat Ideas)
 175.     184. Earth Networks                         MSA Aud Acc                      $0.00
 176.     185. eBay (UK) Limited                      MSA Aud Acc                      $0.00
 177.     186. Ecrans & Media SAS                     ESA DSP                          $0.00
 178.     187. Edmunds.com, Inc.                      MSA Aud Acc                      $0.00
 179.     188. E-Global Trade & Finance               SS DSP Order                     $0.00
 180.     189. Email Addicts AB                       ESA DSP                          $0.00
 181.     190. EMX Digital, LLC                       DSP Wk Order                     $0.00
 182.     191. Engaging Communications PTY                                             $0.00
                                                      ESA DSP
               Ltd.
 183.     192. ePharmacy Group Pty Ltd                ESA DSP                          $0.00
 184.     193. Equmedia XL, S.A.                      ESA DSP                          $0.00
 194.          eTargetMedia.com, LLC                  SOW                              $0.00
 185.     195. eToro Group Limited                    SS DSP Order                     $0.00
 186.     196. Evite, LLC                             PMP DSP Wk Order                 $0.00
 187.     197. Evolution People S.r.l.                ESA DSP                          $0.00
 188.     198. Excitant LLC                           DSP Wk Order                     $0.00
 189.     199. Experience TEN Korlatolt                                                $0.00
                                                      ESA DSP
               Felelossegu Tarsasag
 190.     200. Eye Popper Digital LLC                 Wk Order DSP                     $0.00
 191.     201. EyeRB Media                            MSA DSP SS                       $0.00
 192.     202.                                        Wk Order DSP SS (28%             $0.00
               EyeRB Media
                                                      fxd)
 193.     203.    Face2Trade Inc.                     ESA DSP                          $0.00
 194.     204.    Fashion Media Inc.                  SS DSP Order                     $0.00
 195.     205.    Fiber Ads Media Co., Ltd.           SS DSP Order                     $0.00
 196.     206.    Financial Engines, Inc.             SOW DMP                          $0.00
 197.     207.    Firehouse, Ltd.                     All Srvs Order                   $0.00
 198.     208.    Firstly SP Zoo Sp.k.                SS DSP Order                     $0.00
 199.     209.    Forest View Sole Shareholder Co.                                     $0.00
                                                      SS DSP Order
                  Ltd
 200.     210.    Found Search Marketing              SOW DSP                          $0.00
 201.     211.    Fresh Toast B.V.                    ESA DSP Agmt                     $0.00
 202.     212.    Gamesys (Gibraltar) Limited         ESA DSP                          $0.00
 203.     213.    Gamesys US LLC                      ESA DSP (New Jersey only)        $0.00
 204.     214.    Gaming Performance GmbH             Cooperation Agmt                 $0.00
 205.     215.    GAN Plc (Gameaccount Nevada,        ESA DSP                          $0.00

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                                                                                    Cure Cost
                  Inc.)
 206.     216.    Ganem Group (G Asociados SA                                         $0.00
                                                      Order SS DSP
                  De CV)
 207.     217.    Genart Medya Reklamcilik                                            $0.00
                                                      Srvs Agmt
                  Iletisim Ticaret A.S.
 208.     218.    Geotag S.r.l.                       ESA DSP                         $0.00
 209.     219.    Ghost Management (Weedmaps                                          $0.00
                                                      SS DSP
                  Media, Inc.)
 210.     220.    Global Midia Representacoes                                         $0.00
                                                      SOW DMP
                  Ltda
 211.     221.    Global Midia Representacoes                                         $0.00
                  Ltda (Digital Group) (Digital       SOW DSP
                  Consultoria)
 212.     222.    Global New Media LLC (dba:                                          $0.00
                                                      SS DSP Order
                  Blue Allen)
 213.     223.    Global Promoting Services Ltd                                       $0.00
                                                      SS DSP Order
                  (Swifter)
 214.     224.    GloMobi Limited                     SS DSP, Peer39 Order            $0.00
 215.     225.    Go With Media, LLC                  Srvs Order                      $0.00
 216.     226.                                        MSA (SFDC acct: Apogee          $0.00
                  Goft & Tennis Pro Shop, Inc.
                                                      Results)
 217.     227.                                        SS DSP Order (SFDC acct:        $0.00
                  Goft & Tennis Pro Shop, Inc.
                                                      Apogee Results)
 218.     228.                                        Measurement Partner             $0.00
                  Google LLC
                                                      Program Agmt
 219.     229. Grabit Interactive Media Inc.          PMP DSP DMP                     $0.00
 220.     230. Grabit Interactive Media Inc.          PMP DSP Wk Order                $0.00
 231.          GroupM Asia Pacific Holdings                                           $0.00
                                                      AMDT4 to Srv Agmt
               Pte Ltd.
 232.                                                 Fourth Side Ltr (GroupM         $0.00
                  GroupM LATAM                        Latam) Falabella rates no
                                                      longer apply
 233.                                                 Third Side Ltr to ADDM to       $0.00
                  GroupM LATAM                        3rd Party Advertising
                                                      Vendor Agmt 2016 03 01
 221.     234. GroupM Medya Hizmetleri                                                $0.00
                                                      ESA DSP
               Ticaret Ltd. STI
 222.     235. GroupM Plus S.r.l.                     ESA DSP                         $0.00
 223.     236. GroupM Publicidad Worldwide                                            $0.00
                                                      ESA DSP
               S.A.
 224.     237. GroupM S.r.l.                          ESA DSP                         $0.00
 225.     238. GroupM S.r.l. (GroupM Italia           AMDT2 to ESA DSP 2016           $0.00
               S.r.l.) Wavemaker Global Ltd.          08 01


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                                                                                         Cure Cost
 239.             GSD&M                                   SOW re: IO T&C                   $0.00
 226.     240.    Gupta Media Holdings LLC                ESA Beta SaaS                    $0.00
 227.     241.    Gupta Media Holdings LLC                ESA Beta SaaS                    $0.00
 228.     242.    H2O Media Inc.                          DSP Wk Order                     $0.00
 229.     243.    Havas Media S.r.l.                      ESA DSP                          $0.00
 230.     244.    Healthination, Inc.                     MSA Aud Acc                      $0.00
 231.     245.    Henkel Corporation                      DMP, DSP Order                   $0.00
 232.     246.    Hensikt AS                              ESA DSP                          $0.00
 233.     247.    Hercules Media Sagl                     ESA DSP                          $0.00
 234.     248.    Heureka Huge Idea Sp.z o.o. Sp.                                          $0.00
                                                          SS DSP Order
                  komandytowa
 235.     249.    HICMOBILE S.r.l.                        ESA DSP                          $0.00
 236.     250.    High End Shopping SL                    AMDT1 to ESA DSP                 $0.00
 251.             High End Shopping SL                    ESA DSP                          $0.00
 237.     252.    Horizon Media, Inc.High End                                              $0.00
                                                          ADDM2ESA DSP
                  Shopping SL
 238.     253.                                            Mission Control Beta |           $0.00
                  HowCom AB
                                                          Enterprise SaaS (EMEA)
 239.     254. HRHH Hotel/Casino, LLC                     Advertising Agmt                 $0.00
 240.     255. Huanqiu Internet Media Info Co.,                                            $0.00
                                                          SS DSP Order
               Ltd.
 241.     256. Huddled Masses                             DSP Wk Order                     $0.00
 242.     257.                                            3rd Party Marketing Vendor       $0.00
               Hulu, LLC
                                                          T&C (DMP)
 243.     258.                                            3rd Party Marketing Vendor       $0.00
                  Hulu, LLC
                                                          T&C
 244.     259.    Hulu, LLC                               Advertising Agmt                 $0.00
 245.     260.    HyperTv, Inc.                           ESA DSP                          $0.00
 246.     261.    HyperTv, Inc.                           ESA DSP                          $0.00
 247.     262.    iCrossing-Puerto Rico LLC               PMP DSP Wk Order                 $0.00
 248.     263.    Idmedios Latam Spa                      SS DSP Order                     $0.00
 249.     264.    Imperial Sales & Marketing                                               $0.00
                                                          MSA DSP fixed
                  GmbH
 250.     265.    IMW Agency                              DSP Wk Order                     $0.00
 251.     266.    Incomm Holdings Inc.                    PMP Wk Order                     $0.00
 252.     267.    Indato Digital S.r.l.                   MSA DSP, WK Order DSP            $0.00
 253.     268.    Inflr Atividades De Internet S.A.       SS DSP Order                     $0.00
 269.             ING Bank N.V. Sucursal en                                                $0.00
                                                          Srvs Agmt
                  España
 254.     270.    Inka Marketing Estrategico SL           SS DSP Order                     $0.00
 255.     271.    Inka Marketing Estrategico SL           ESA DSP                          $0.00
 256.     272.    Innovana Thinklabs Limited              DSP Order                        $0.00
 257.     273.    Intenseln Pty Ltd                       Adserving, SS DSP Order          $0.00

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                                                                                      Cure Cost
 258.     274. Intermedia Analytics, LLC               PMP DSP Wk Order                 $0.00
 275.          InternatIonal Business Machines         ADMT1 to SOW                     $0.00
               Corporation (IBM)                       (#CW2908967)
 276.          InternatIonal Business Machines                                          $0.00
                                                       SOW (#CW2908967)
               Corporation (IBM)
 277.          InternatIonal Business Machines         Supplier Relationship Agmt       $0.00
               Corporation (IBM)                       (CW2908935)
 259.     278. iQuanti                                 MSA SS DSP                       $0.00
 260.     279. iQuanti                                 SOW SS DSP                       $0.00
 261.     280. JJ Marketing Ltd.                       ESA DSP                          $0.00
 262.     281. Journey Further Limited                 ESA DSP                          $0.00
 263.     282. JPMorgan Chase                          AMDT3 to CW732383                $0.00
 264.     283.                                         AMDT2 CW 830276                  $0.00
               JPMorgan Chase                          EXTENDS Schedule
                                                       CW732383
 265.     284. K2 Media S.A.                           ESA DSP                          $0.00
 266.     285.                                         AMDT1 to Media Svrs              $0.00
               Kaspersky Lab UK Ltd.
                                                       Agmt
 267.     286.                                         DSP ADDM1 to MSA Aud             $0.00
                  Kayak Software Corporation
                                                       Acc
 268.     287. Kayak Software Corporation              MSA Aud Acc                      $0.00
 288.          Keymantics                              Srvs Agmt                        $0.00
 269.     289. Koi Americas LLC                        SS DSP Order                     $0.00
 290.          Koordinat Medya Hizmetleri                                               $0.00
                                                       Srvs Agmt
               Ticaret A.S.
 270.     291. Krt Marketing, Inc.                     SS DSP Order                     $0.00
 271.     292. KS Digital Media Limited                SS DSP Order                     $0.00
 272.     293. Kumma Ltd                               ESA DSP                          $0.00
 273.     294. Lafleur Marketing, LLC                  SS DSP & Adserving Order         $0.00
 295.          Latinworks Marketing, LLC               AMDT2 to Srv Agmt                $0.00
 274.     296. Leadsense FZC                           SS DSP Order                     $0.00
 275.     297. Lecturio GmbH                           ESA DSP Agmt                     $0.00
 276.     298. Like Reply S.r.l. con Socio Unico       ESA DSP                          $0.00
 277.     299.                                         AMDT1 to ESA DSP FXD             $0.00
               Lippupiste Oy
                                                       EMEA
 278.     300.    Lippupiste Oy                        ESA DSP FXD EMEA                 $0.00
 279.     301.    Local Corporation                    ESA DMP                          $0.00
 280.     302.    Logitravel S.L.                      ESA DSP                          $0.00
 281.     303.    Lottomatica Scommesse s.r.l.         Order #45012712                  $0.00
 282.     304.    Lottomatica Scommesse s.r.l.         Order #45011878                  $0.00
 283.     305.    Louder Digital Pty Ltd               ESA DSP                          $0.00
 284.     306.    Luisa Via Roma Spa                   ESA DSP                          $0.00
 285.     307.    M&R Strategic Services, Inc.         AMDT2 to SOW DMP                 $0.00


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                                                                                     Cure Cost
 286.     308. M&R Strategic Services, Inc.              ADMT1                         $0.00
 287.     309. Mais Clicks Publicidade Ltda.             PMP DSP Wk Order              $0.00
 288.     310. Manta Media, Inc.                         SS DSP Order                  $0.00
 289.     311. Manta Media, Inc.                         ESA DSP                       $0.00
 290.     312. Marketing Orchestration, Inc.             PMP DMP DSP Wk Order          $0.00
 291.     313. Marmalade Digital Private                                               $0.00
                                                         SS DSP Order
               Limited
 292.     314. Mashable                                  MSA Aud Acc                   $0.00
 293.     315. Media Capital Fund, LLC                                                 $0.00
                                                         ESA DSP
               (Latin3)
 294.     316. Media Capital Fund, LLC | Latin           SOW DMP (Grupo                $0.00
               3                                         Televisa, S.A.B.)
 295.     317.                                           Channel Partner MSA DSP       $0.00
               Media Capital Fund, LLC | Latin
                                                         & DMP and Sch1 End User
               3
                                                         Agmt
 296.     318. Media Diamond S.L.                        ESA DSP                       $0.00
 297.     319. Media Direct, SIA                         DMP, SS DSP Order             $0.00
 320.          Media IQ Digital Ltd.                     Srvs Agmt                     $0.00
 298.     321. Media Italia S.p.A.                       SS DSP Order                  $0.00
 299.     322. Media Italia S.p.A.                       ESA Beta SaaS                 $0.00
 300.     323. Media Nation                              PMP DSP Wk Order              $0.00
 301.     324. Media Works S.A. of PL                    ESA DSP                       $0.00
 325.                                                    Srvs Agmt for Toyota          $0.00
                  Mediabrands S.A.
                                                         Argentina
 326.             MediaMath, Inc.                        AMDT3                         $0.00
 302.     327.    Mediasurfer Inc.                       SS DSP                        $0.00
 303.     328.    Mediavo, Inc.                          SS DSP Order                  $0.00
 304.     329.    MediaWallah LLC                        Srvs Order                    $0.00
 305.     330.    Melia Hotels International S.A         Pixel Agmt                    $0.00
 306.     331.    Melia Hotels International S.A.        Data Usage Agmt               $0.00
 307.     332.    Melia Hotels International S.A.        ESA Beta                      $0.00
 308.     333.    Merkle, Inc.                           AMDT1 to SOW DSP              $0.00
 309.     334.    Merkle, Inc.                           EMP SOW                       $0.00
 310.     335.    Merkle, Inc.                           Platform Data Lic Agmt        $0.00
 311.     336.    Merkur Interactive Services                                          $0.00
                                                         ESA DSP
                  GmbH
 312.     337.    Meyocks Group Inc.                     PMP DSP Wk Order              $0.00
 313.     338.    MFM Investment Ltd                     ESA DSP                       $0.00
 314.     339.    Microsoft Corporation                  Supplier Services Agmt        $0.00
 315.     340.    Milestone Integrated Marketing                                       $0.00
                                                         Adserving, managed DSP
                  Inc.
 341.                                                    AMDT1 to Variation Srv        $0.00
                  Mindshare Media UK Limited
                                                         Agmt


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                       Contract Counterparty                    Contract          Proposed
                                                                                  Cure Cost
 342.             Mindshare UK Limited (on behalf                                   $0.00
                                                        ADDM (for Nikon GmbH)
                  of GroupM EMEA)
 316.     343.    Mindspark Interactive Network,                                    $0.00
                  Inc. (and its affiliate IAC Search    DSP Wk Order
                  & Media Europe, Ltd.)
 317.     344.    Mister Bell                           Order SS DSP                $0.00
 318.     345.    Mobile Cloud Media (HK)                                           $0.00
                                                        ESA DSP
                  Limited
 319.     346.    Mobile Gold Media Inc.                ESA DSP                     $0.00
          347.    Momondo A/S                           ESA DSP                     $0.00
 320.             Momondo A/S                           ESA DSP                     $0.00
 321.     348.    Morgan & Morgan, P.A.                 PMP DSP Wk Order            $0.00
 349.             Mortenson Kim, Inc.                   ADDM1 to Srv Agmt           $0.00
 350.             Mortenson Kim, Inc.                   Srv Agmt                    $0.00
 322.     351.    MountainLab Limited                   SS DSP Order                $0.00
 323.     352.    Moving Up S.r.l.                      ESA DSP                     $0.00
          353.    My Media SAS                          ESA DSP                     $0.00
 324.             My Media SAS                          ESA DSP                     $0.00
 325.     354.    Myntelligence Limited                 ESA DSP                     $0.00
 326.     355.    National Cinemedia, LLC               AMDT2 to SOW DSP            $0.00
 327.     356.    National Cinemedia, LLC               MSA & Order                 $0.00
 328.     357.    National Cinemedia, LLC               ADDM1 to ESA                $0.00
 329.     358.    National Cinemedia, LLC               ESA SAAS                    $0.00
 330.     359.    National Media, Inc.                  ESA DMP DSP                 $0.00
 331.     360.    NBCUniversal Media, LLC               Data Agmt (Allstate)        $0.00
 332.     361.    Neodigital Iletisim Danismanlik                                   $0.00
                                                        SS DSP Order
                  Ticaret Limited Sirketi
 333.     362.    Net Online Ltd. (Net Natives)         ESA DSP                     $0.00
 334.     363.    Netidea Webranking S.r.l.             ESA DSP                     $0.00
 335.     364.    Newscore Media LLC                    SS DSP Order                $0.00
 336.     365.    Nickel Media Inc.                     Combo Order                 $0.00
 337.     366.    Nova Expressao Planeamento de                                     $0.00
                                                        ESA DSP
                  Media e Publicidade S.A.
 338.     367.    Nowell Marketing Limited (Osiris      MSA (agency: OSIRIS         $0.00
                  Trading (PTY) Ltd                     TRADING (PTY) LTD)
 339.     368.    NVIDIA Corporation                    All Srvs Order              $0.00
 340.     369.    Nyheter365 AB                         ESA DSP                     $0.00
 341.     370.    ocono GmbH                            ESA DSP                     $0.00
 342.     371.    Off Base                              PMP DSP Wk Order            $0.00
 343.     372.    Office of Experience, LLC             SS DSP Order                $0.00
 344.     373.    OMD Dominicana S.r.l.                 DSP Wk Order                $0.00
 345.     374.    Omnicom Media Group S.r.l.            ESA DSP                     $0.00
 346.     375.    Omnicom Media Group SA PTY            All Srvs Order              $0.00


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                       Contract Counterparty                    Contract              Proposed
                                                                                      Cure Cost
               LTD
 347.     376. Omnicon Media Group Holdings                                             $0.00
                                                        MSA DSP DMP
               Inc.
 348.     377. Omnyway Inc.                             All Srvs Order                  $0.00
 349.     378. Omnyway Inc.                             MSA DSP, adserving              $0.00
 350.     379.                                          Data Processing Agmt,           $0.00
               One Source Virtual, Inc.
                                                        ADDM1 & APPDX 1, 2, 3
 380.             one2one Media, LLC (dba:              SOW Addressable TV,             $0.00
                  one2one Addressable)                  (agency: GSD&M)
 381.             one2one Media, LLC (dba:                                              $0.00
                                                        Srvs Agmt
                  one2one Addressable)
 351.     382.    Online Media Partners GmbH            ESA DSP                         $0.00
 352.     383.    Oportunidades Canarias SL             ESA DSP                         $0.00
 353.     384.    Optdcom Teknoloji Yatirim A.S.        AMDT1 to ESA DSP                $0.00
 354.     385.    Optdcom Teknoloji Yatirim A.S.        ESA DSP                         $0.00
 355.     386.    OptiKom Media GmbH                    ESA DSP                         $0.00
 356.     387.    Optimus Consulting LLC                Agency MSA DSP                  $0.00
 357.     388.                                          SOW DSP (see Terms              $0.00
                  Optimus Consulting LLC
                                                        Sheet)
 358.     389. Orion Worldwide LLC                      MSA (#N314)                     $0.00
 359.     390. Orion Worldwide LLC                      AMDT1 to Media Agmt             $0.00
 360.     391.                                          Media Agmt (for Universal       $0.00
               Orion Worldwide LLC
                                                        McCann for MEDC) #N289
 361.     392. Papaya Group Co Limited                  SS DSP Order                    $0.00
 362.     393. Parallel Software Development                                            $0.00
                                                        Srvs Order
               Company
 363.     394. Partenaire Regie                         Trading Agmt                    $0.00
 364.     395. Pashadv S.r.l.                           ESA DSP                         $0.00
 365.     396. Peel Technologies, Inc.                  MSA Aud Acc                     $0.00
 366.     397. Perfect Media Network Ltd.               All Srvs Order                  $0.00
 398.          Peter A. Mayer Advertising Inc.          DSP                             $0.00
 367.     399. Pilot Hamburg GmbH und Co.                                               $0.00
                                                        DSP Eval Agmt
               KG
 368.     400. Plarium Europe SARL                      ESA DSP                         $0.00
 369.     401.                                          MSA DMP (Hosted                 $0.00
               PNC Bank, National Association
                                                        Technology Agmt)
 370.     402. Portavoz Comunicaciones                                                  $0.00
                                                        SS DSP Order
               Integradas SL
 403.          PowerPHYL Media Solutions                SS DSP Order                    $0.00
 371.     404. Priceline.com, LLC                       MSA Aud Acc                     $0.00
 372.     405. Procter & Gamble Company                 Third Party Tag Agmt            $0.00
 373.     406. Procter & Gamble Company                 AMDT2 to Wk Order1              $0.00
 374.     407. Procter & Gamble Company                 AMDT1 to Wk Order1              $0.00


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                                                                                     Cure Cost
 375.     408. Programatik Reklam Bilisim                                              $0.00
                                                       SOW DSP Sifiraracal
               Organizasyon Tic. Ltd. Sti.
 376.     409. Programatik Reklam Bilisim                                              $0.00
                                                       SOW DSP Moda Merve
               Organizasyon Tic. Ltd. Sti.
 377.     410. Programatik Reklam Bilisim                                              $0.00
                                                       SOW DSP Media Click
               Organizasyon Tic. Ltd. Sti.
 378.     411. Programatik Reklam Bilisim                                              $0.00
                                                       SOW DSP Eti Bilgisayar
               Organizasyon Tic. Ltd. Sti.
 379.     412. Programatik Reklam Bilisim                                              $0.00
                                                       ESA DSP
               Organizasyon Tic. Ltd. Sti.
 413.          Programatik Reklam Bilisim                                              $0.00
                                                       Srvs Agmt
               Organizasyon Tic. Ltd. Sti.
 380.     414. Proper Digital Marketing Agency                                         $0.00
                                                       ESA DSP
               Helsinki (P+SBD)
 381.     415. Publicis Media Italy S.r.l.             ESA DSP                         $0.00
 382.     416. Publicis Media Italy S.r.l.             AMDT1 to ESA                    $0.00
 383.     417. Publicis Media, Inc.                    AMDT7 to extend DSP             $0.00
 384.     418. Publisher's International PTY Ltd       DSP Order                       $0.00
 385.     419. Pumpkin Labs Inc.                       SS DSP Order                    $0.00
 386.     420. PureWOW                                 MSA Aud Acc                     $0.00
 387.     421. QuinStreet, Inc.                        MSA Aud Acc                     $0.00
 388.     422. Quisma GmbH (Light Reaction)            ESA Self Serve DSP              $0.00
 389.     423.                                         SOW DSP Self Service (w/        $0.00
               Quotient Technology Inc.                Mgd Srv) (aka
                                                       Coupons.com)
 390.     424. RCW, Inc. (M. Gemi)                     EMP (Audience & Insights)       $0.00
 391.     425. ReachAd GmbH                            SS DSP Order                    $0.00
 426.          Red Bull GmbH                           Srv Agmt                        $0.00
 427.          Red Bull GmbH                           Framework Agmt                  $0.00
 392.     428. Red Media Consulting AS                 ESA DSP                         $0.00
 429.                                                  Mobile Attribution Agmt &       $0.00
                  Reddit, Inc.
                                                       DPA
 393.     430. Resolution Media GmbH (aka                                              $0.00
                                                       AMDT2 to ESA DSP
               OMG)
 394.     431. Resolution Media GmbH (aka                                              $0.00
                                                       ESA Beta SaaS
               OMG)
 395.     432. Reveal Content                          SS DSP Order                    $0.00
 396.     433. Revenue Engineers B.V.                  AMDT1 to ESA DSP                $0.00
 397.     434. Revenue Engineers B.V.                  ESA DSP                         $0.00
 398.     435. Rise Interactive                        ESA DSP                         $0.00
 399.     436. RIUSA II SA                             SS DSP Order                    $0.00
 400.     437.                                         Srv Agmt (for RFP - basic       $0.00
               RobbinsKersten Direct, LLC
                                                       agmt to get started, then


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                       Contract Counterparty                    Contract               Proposed
                                                                                       Cure Cost
                                                       campaigns)
 401.     438.    ROI Media Consultants                AMDT1 to SOW DSP                  $0.00
 402.     439.    ROI Media Consultants                Agency MSA DSP                    $0.00
 403.     440.    ROI Media Consultants                SOW DSP                           $0.00
 404.     441.    Roket Media Ltd                      ESA DSP                           $0.00
 405.     442.    Rousemobi Limited                    SS DSP Order                      $0.00
 406.     443.    S&P Global Inc.                      SS DSP Order                      $0.00
 407.     444.    SCL Elections Ltd. (aka                                                $0.00
                                                       AMDT1 to SOW DMP DSP
                  Cambridge Analytica)
 408.     445.    Scoppechio, Inc.                     ESA DSP                           $0.00
 409.     446.    Search Optics, LLC                   ADMT to SOW (extend)              $0.00
 410.     447.    Search Optics, LLC                   ESA BETA DSP                      $0.00
 411.     448.    Seeking Alpha Ltd.                   MSA Audience Accelerator          $0.00
 412.     449.    Selectivv Europe SP zoo              ESA DSP                           $0.00
 413.     450.    Six Continents Hotels, Inc. (IHG)    Advertising Agmt                  $0.00
 414.     451.                                         AMDT1 to WK ORDER                 $0.00
                  Sizmek Technologies, Inc.
                                                       DSP
 415.     452.                                         Affiliate Adopting Agmt to        $0.00
                  Sizmek Technologies, Inc.
                                                       MSA DSP (Australia)
 416.     453. Sizmek Technologies, Inc.               WK ORDER DSP                      $0.00
 417.     454. Sky Section Reklamcilik                                                   $0.00
               Organizasyon Ve Danismanlik             ESA DSP
               Limited Sirketi
 418.     455. Smart Reach Digital, LLC (a                                               $0.00
               subsidiary of Entercom
                                                       AMDT1 to SOW DSP &
               Communications Corp) (fka CBS
                                                       Assignment
               Local Digital Media (division of
               CBS Radio Inc.)
 419.     456. Social Boom LLC                         ESA DSP                           $0.00
 457.          Something Massive, LLC                  SAS Order                         $0.00
 458.          Sony Interactive Entertainment                                            $0.00
                                                       Srvs Agmt
               LLC
 459.          Sony Interactive Entertainment                                            $0.00
                                                       Srvs Agmt
               Network America LLC
 420.     460. Sony Interactive Entertainment          MSA Srv Agmt (they use            $0.00
               Network America LLC                     our software and we active)
 421.     461. SoSoAds Limited                         SS DSP, Peer39 Order              $0.00
 422.     462. Spacedealer GmbH                        ESA DSP                           $0.00
 423.     463. Sparc Media PTY LTD                     ESA DSP                           $0.00
 424.     464. Spectrum Communications (Pvt.)                                            $0.00
                                                       MSA & SS DSP Order
               Ltd.
 425.     465. Spigot, Inc.                            Srv Order                         $0.00
 426.     466. Spinach Advertising Pty Ltd             AMDT1 to ESA DSP                  $0.00


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                                                                                      Cure Cost
 427.     467. Spinach Advertising Pty Ltd             ESA DSP                          $0.00
 428.     468. SPM Marketing &                                                          $0.00
                                                       MSA Trial SS DSP
               Communciations
 469.          Starcom Mediavest Group, Inc.           AMDT6                            $0.00
 470.          Starcom Mediavest Group, Inc.           AMDT4 to Srv Agmt                $0.00
 471.          Starcom Mediavest Group, Inc.           Srv Agmt                         $0.00
 472.          Starcom Mediavest Group, Inc.           AMDT1 to Srv Agmt                $0.00
 473.          Starcom Mediavest Group, Inc.           AMDT2 to Srv Agmt                $0.00
 474.          Starcom Mediavest Group, Inc.           AMDT3 to Srv Agmt                $0.00
 475.          Starcom Worldwide Limited               AMDT2 (FCA)                      $0.00
 429.     476. Starmobi Limited                        SS DSP Order                     $0.00
 430.     477. Statiq Limited                          MSA Channel Partner              $0.00
 431.     478. Stinson Partners (dba Beeby                                              $0.00
                                                       Media DSP Agmt (X+1)
               Clark Meyler | BCM)
 432.     479. Storm (ID) Ltd                          ESA DSP                          $0.00
 433.     480. Sublime Skinz Ltd.                      Managed DSP Order                $0.00
 434.     481. SuprNation Services Ltd.                ESA DSP                          $0.00
 435.     482. Survata, Inc.                           SS DSP Order                     $0.00
 436.     483.                                         Data Flow Agmt - Srvs in         $0.00
                                                       Digital Marketing Agmt
                  Swisscom (Schweiz) AG                #5200000711 (to sit
                                                       alongside the managed
                                                       service Media IO business)
 484.          Symphony                                3rd Party API Users              $0.00
 437.     485. Tailwind EMEA Holdings Ltd              SAS. SS DSP Order                $0.00
 438.     486. Taptica Limited                         SS DSP Order                     $0.00
 439.     487. Target Marketing &                                                       $0.00
                                                       Adserving, SS DSP Order
               Communications Inc.
 440.     488.                                         AMDT2 (SS DSP) to 2009           $0.00
               TCAA, Inc.
                                                       Srv Agmt
 441.     489. Teyame 360 S.L.                         ESA DSP                          $0.00
 442.     490. Thalamus, Inc.                          SAS, SS DSP Order                $0.00
 443.     491. The Auto Club Group                     All Srvs Order                   $0.00
 444.     492. The Basement Inc.                       Managed & SS DSP Order           $0.00
 445.     493. The Craft Media Company SL              ESA DSP                          $0.00
 446.     494. The Economist Newspaper Ltd.            ESA DSP                          $0.00
 447.     495. The Economist Newspaper NA,                                              $0.00
                                                       MSA Audience Accelerator
               Inc.
 496.          The Gary Group                          ADDM3 to Srv Agmt                $0.00
 448.     497. The Halo Group                          ESA DSP                          $0.00
 498.          The Hiebing Group, Inc.                 AMDT2 to Srv Agmt                $0.00
 449.     499. The Level Group S.r.l                   ESA DSP                          $0.00
 500.          The New York Times Company              AMDT1 to Publisher               $0.00


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                                                                                         Cure Cost
 501.                                                      AMDT1 to MSA (Papa              $0.00
                  The Press Association Limited
                                                           John's)
 502.             The Press Association Limited            MSA (Papa John's)               $0.00
 450.     503.    The Quantium Group Pty Ltd               Media Agency Agmt               $0.00
 451.     504.    The Richards Group                       SOW DMP (MD Anderson)           $0.00
 452.     505.    The Trigger Company AB                   ESA DSP                         $0.00
 453.     506.    Thermo Fisher Scientific Inc.            SOW2                            $0.00
 454.     507.    Thermo Fisher Scientific Inc.            SOW1                            $0.00
 455.     508.    ThreePipe Communications Ltd.            ESA DSP                         $0.00
 456.     509.    Time + Space Media Limited               Trading Agmt                    $0.00
 457.     510.    Tisoomi GmbH                             ESA DSP                         $0.00
 458.     511.    TMRW London Limited (t/a                                                 $0.00
                                                           ESA DSP
                  TomorrowTTH)
 512.             Toll Brothers, Inc.                      Srvs Agmt                       $0.00
 459.     513.    Tommie Copper, Inc.                      SOW1 EMP                        $0.00
 460.     514.    Tradedoubler Espana SL                   ESA DSP                         $0.00
 461.     515.    Trilegiant Corporation                   MSA DMP (Affinion)              $0.00
 462.     516.    Trulia                                   MSA Audience Accelerator        $0.00
 463.     517.    Trusted Media Brands, Inc. (The                                          $0.00
                                                           PMP DSP Wk Order
                  Reader's Digest Association Inc.)
 464.     518.    TTNET A.S.                               ESA DSP                         $0.00
 465.     519.    Tungsten Network Limited                 SOW DMP (managed)               $0.00
 466.     520.    Turbo S.r.l.                             ESA Beta Agmt                   $0.00
 467.     521.    TZ Insurance Solutions LLC               ADDM1 to Short Term             $0.00
 468.     522.    United Media Group                       SOW DSP Channel Partner         $0.00
 469.     523.    Upgrade S.r.l.                           ESA DSP                         $0.00
 470.     524.    Verizon Online                           PSA (w/ X+1)                    $0.00
 471.     525.    Verizon Sourcing LLC (Verizon            Cloud Srvs & Software Lic       $0.00
                  Online)                                  Agmt for PSA 2010 10 12
 526.                                                      Renewal of MSA and SOWs         $0.00
                  Viacom International, Inc.
                                                           3 thru 7
 472.     527. Viajes GTI Grupo Turistico                                                  $0.00
                                                           ESA DSP
               Internacional SA
 528.          Viant US, LLC                               ADDM2 to Publisher Agmt         $0.00
 473.     529. Viant US, LLC                               DSP Wk Order                    $0.00
 474.     530. Vice Studio Canada Inc.                     SS DSP Trial Order              $0.00
 475.     531. Vici Media Inc.                             SS DSP                          $0.00
 476.     532. Vidazoo Limited                             ESA DSP                         $0.00
 477.     533. Videobeat Networks Ltd.                     ESA DSP                         $0.00
 478.     534. Videoclick Advertising Srl                  ESA DSP                         $0.00
 479.     535. Visit Hershey & Harrisburg, Inc.            SS DSP Order                    $0.00
 480.     536. Vivaki SRL                                  ESA self serve                  $0.00
 537.          Vivaki Turkey Medya Hizmetleri              AMDT2 (P&G TR)                  $0.00

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                                                                                   Cure Cost
                  A.S.
 481.     538.    Vivaki Turkey Medya Hizmetleri                                     $0.00
                                                       ESA DSP
                  A.S.
 482.     539.    VivaKi, Inc.                         ADDM2 to Short Term           $0.00
 483.     540.    VivaKi, Inc.                         ADDM1 to Short Term           $0.00
 484.     541.    Vivalu GmbH                          Adserving, SS DSP Order       $0.00
 542.             VM1 (dba: Zenith Media                                             $0.00
                                                       SOW2
                  Services)
 485.     543.                                         AMDT1 to SOW DSP              $0.00
                  Voice Media LLC
                                                       (extension)
 486.     544.    Voice Media LLC                      ESA DSP                       $0.00
 487.     545.    Wavemaker GmbH                       ESA DSP                       $0.00
 488.     546.    Web Financial Group S.A.             ESA DSP                       $0.00
 489.     547.    Web3 Ltd.                            ESA DSP                       $0.00
 490.     548.    WebAds S.r.l.                        ESA DSP                       $0.00
 491.     549.    WebSelectMedia                       SS DSP Order                  $0.00
 492.     550.    Westpac Banking Corporation          Master Supplier Agmt          $0.00
 493.     551.                                         Media Srvs Agmt for           $0.00
                  Whitbread Group PLC
                                                       Premier Inn
 494.     552. WhoSay Inc.                             MSA Aud Acc                   $0.00
 495.     553. Widespace ABWizink Bank S.A.            Srvs Agmt OrderAMDT1 to       $0.00
               (fka: Bancopopular-e S.A.)              ESA DSP (for WiZink)
 496.     554. Wizink Bank S.A. (fka:                  AMDT1 to ESA DSP (for         $0.00
               Bancopopular-e S.A.)                    WiZink)
 555.          Wizink Bank S.A. (fka:                                                $0.00
                                                       ESA DSP (for WiZink)
               Bancopopular-e S.A.)
 497.     556. Wouamm                                  SS DSP Order                  $0.00
 498.     557. WS Conversion-Pros Ltd.                 ESA DSP                       $0.00
          558. Xister S.r.l.                           ESA DSP                       $0.00
 499.          Xister S.r.l.                           ESA DSP                       $0.00
 500.     559. XT Media Group                          All Srvs Order                $0.00
 501.     560. XY - The Persistent Company             SS DSP Order                  $0.00
 502.     561. Yango Media Pty Ltd                     All Srvs Order                $0.00
 503.     562. Yango Media PTY LTD                     ESA DSP Self Serve            $0.00
 504.     563. Yidial Limited                          SS DSP Order                  $0.00
 505.     564. YiDong Internet Media Co., Ltd.         SS DSP Order                  $0.00
 506.     565. Yieldbird Sp.zoo                        ESA DSP                       $0.00
 507.     566. Yuglr Media BV                          ESA DSP                       $0.00
 508.     567. YummoreMedia LLC                        SS DSP Order                  $0.00
 509.     568. Zappos IP, Inc.                         T&Cs and IO                   $0.00
 510.     569. Zero Moment of Truth                    Agency MSA DSP                $0.00
 511.     570. Zero Moment of Truth                    SOW DSP                       $0.00
 512.     571. ZhaoHui Internet Technology             SAS, SS DSP Order             $0.00

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                                                                                Cure Cost
                  Co., Ltd.




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    Input:
                        file://\\nyc-us-file-01\Users$\llersner\Desktop\Zeta Contract
    Document 1 ID       Docs\As filed contract list Sizmek - Motion to Assume and
                        Assign (Zeta contracts).docx
                        As filed contract list Sizmek - Motion to Assume and Assign
    Description
                        (Zeta contracts)
                        file://\\nyc-us-file-01\Users$\llersner\Desktop\Zeta Contract
    Document 2 ID       Docs\Sizmek - Notice of Revised Proposed Order re Zeta
                        Assumption.docx
                        Sizmek - Notice of Revised Proposed Order re Zeta
    Description
                        Assumption
    Rendering set       Firm Word - Adds Double Underline, Delete Strikethrough

    Legend:
    Insertion
    Deletion
    Moved from
    Moved to
    Style change
    Format change
    Moved deletion
    Inserted cell
    Deleted cell
    Moved cell
    Split/Merged cell
    Padding cell

    Statistics:
                        Count
    Insertions                                 497
    Deletions                                  730
    Moved from                                   0
    Moved to                                     0
    Style change                                 0
    Format changed                               0
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